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            Exhibit 1
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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                      SAN JOSE DIVISION


IN RE FACEBOOK INTERNET                              Case No. 5:12-MD-2314-EJD
TRACKING LITIGATION
                                                     CLASS ACTION SETTLEMENT
                                                     AGREEMENT AND RELEASE


THIS DOCUMENT RELATES TO
ALL ACTIONS


       This Class Action Settlement Agreement and Release (the “Settlement Agreement” or

“Agreement”) is made and entered into on February 14, 2022, by and among Defendant Meta

Platforms, Inc., formerly Facebook, Inc. (“Meta” or “Defendant”) and Plaintiffs and proposed class

representatives Perrin Davis, Dr. Brian Lentz, Cynthia Quinn, Matthew Vickery, Ryan Ung, Chi

Cheng, and Alice Rosen (together, the “Plaintiffs” or “Settlement Class Representatives”), on their

own behalf and on behalf of the Settlement Class Members, in the Actions as defined herein. This

Settlement Agreement is intended by the Parties to fully, finally, and forever resolve and discharge

the Released Claims as defined herein pursuant to the terms and conditions of this Agreement. It

is subject to the final approval of the United States District Court for the Northern District of

California (the “Court”).

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                          SCHEDULE OF EXHIBITS



Exhibit                                Description

  A       List of Related and Consolidated Actions


  B       Notice Plan


  C       Notice of Proposed Settlement of Class Action


  D       Claim Form


  E       Opt-Out Form


  F       Proposed Order Preliminarily Approving Settlement, Authorizing Notice
          to the Settlement Class, and Setting Fairness Hearing


  G       Proposed Order of Final Approval


  H       Proposed Judgment




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1.     CERTAIN DEFINITIONS

      In addition to the defined terms contained herein, the following definitions shall apply in

this Agreement:

       1.1    “Actions” means the MDL Action and the State Court Action collectively, as each

              term is defined below:

                  (a)   “MDL Action” means the action captioned above and created by the Judicial

                        Panel on Multidistrict Litigation (JPML) pursuant to 28 U.S.C. § 1407 and

                        all related actions listed in Exhibit A consolidated with the MDL Action in

                        the Northern District of California.

                  (b)   “State Court Action” means the action titled Ung, et al. v. Facebook, Inc.,

                        No. 2012-1-CV-217244, currently pending in the Superior Court of

                        California, Santa Clara County.

       1.2    “Administrative Costs” means all reasonable costs and expenses incurred by the

              Settlement Administrator while carrying out its duties under this Agreement,

              including, without limitation, establishing and maintaining a secure database;

              reviewing and approving claims; administering, calculating, and distributing the Net

              Settlement Fund to Settlement Class Members; and the costs of the Escrow Account.

       1.3    “Agreement” means this Class Action Settlement Agreement and Release.

       1.4    “Approved Claim” means a Claim Form submitted by a Settlement Class Member

              that (a) is submitted timely and in accordance with the directions on the Claim Form

              and the provisions of this Agreement; (b) is fully completed and executed by the

              Settlement Class Member and provides all required information; (c) is signed by the

              Settlement Class Member or a duly authorized representative who provides proof of




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        such authority to act; and (d) is verified by the Settlement Administrator.

 1.5    “Authorized Claimant” means a Settlement Class Member who submits an

        Approved Claim.

 1.6    “CAFA Notice” means a notice of the Settlement in compliance with the

        requirements of the Class Action Fairness Act, 28 U.S.C. § 1715, et seq. (“CAFA”),

        to be served upon the appropriate State official of each State and the Attorney

        General of the United States. Prior to the Preliminary Approval hearing, the

        Settlement Administrator shall provide proof of service of such notice for filing

        with the Court.

 1.7    "Claim” means a Settlement Class Member’s claim submission that may, if valid,

        entitle the Settlement Class Member to a Settlement Payment.

 1.8    “Claims Deadline” means the date by which Settlement Class Members must submit

        their Claim Forms on the Settlement Website or via U.S. mail for the Claim Forms

        to be timely.

 1.9    “Claim Form” means the document substantially in the form attached hereto as

        Exhibit D.

 1.10   “Court” means the United States District Court for the Northern District of

        California.

 1.11   “Defendant” means Meta Platforms, Inc., formerly Facebook, Inc. (“Meta” or

        “Defendant”).

 1.12   “Defendant’s Counsel” or “Defense Counsel” means Michael G. Rhodes and Kyle

        C. Wong of Cooley LLP.

 1.13   “Effective Date” means the first business day after which all of the following events




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        and conditions have occurred:

           (a) entry of the Preliminary Approval Order, which shall be in all material

               respects substantially in the form set forth in Exhibit F attached hereto;

           (b) entry of the Final Approval Order, which shall be in all material respects

               substantially in the form set forth in Exhibit G attached hereto; and

           (c) the Final Approval Order becomes a final, non-appealable judgment

               approving the Settlement Agreement in all respects and is no longer subject

               to review, reconsideration, rehearing, appeal, petition for permission to

               appeal, petition for a writ of certiorari, or any other appellate review of any

               kind.

 1.14   “Escrow Account” means the separate, interest-bearing escrow account to be

        established by the Settlement Administrator under terms agreed upon with Lead

        Counsel. The costs of establishing and maintaining the Escrow Account shall be

        paid from the Settlement Fund.

 1.15   “Excluded Settlement Class Member” means any Settlement Class Member who has

        timely exercised his or her right to be excluded from the Settlement Class.

 1.16   “Exhibits” means the exhibits to this Agreement.

 1.17   “Facebook User” means a confirmed, registered individual about whom Defendant

        has obtained information for the purpose of providing access to the Facebook social

        media platform before or during the Settlement Class Period.

 1.18   “Fee and Expense Award” means any attorneys’ fees and reimbursement of actual

        out-of-pocket expenses awarded by the Court to Settlement Class Counsel for: (1)

        work performed by Settlement Class Counsel, (2) as well as any other firm that




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        performed approved work on behalf of Plaintiffs.

 1.19   “Final Approval Order” means the final judgment and order to be entered by the

        Court, following the Final Fairness Hearing, which approves the Settlement and

        sets the amounts of the Fee and Expense Award and the Service Awards. A

        proposed Final Approval Order is attached hereto as Exhibit G.

 1.20   “Final Fairness Hearing” means the Court hearing where the Parties will request

        the Court to enter the Final Approval Order approving this Agreement, and where

        MDL Counsel will request the Court to approve the Fee and Expense Award and

        the Service Awards.

 1.21   “MDL Counsel” means proposed Lead Counsel and the proposed Chair of Plaintiffs’

        Executive Committee.

 1.22   “Net Settlement Fund” means the Settlement Fund, less all amounts approved by the

        Court for distribution to any person or entity other than the Settlement Class

        Members or for Service Awards.

 1.23   “Non-Class Counsel” means Supreme Court Counsel and any additional counsel in

        the MDL who were appointed by the Court to a leadership role and who performed

        common benefit work at the direction of Lead Counsel.

 1.24   “Notice” means the notice of this proposed Settlement, as approved by the Court in

        the Preliminary Approval Order, and any other documents included with the Notice,

        substantially in the form attached hereto as Exhibit C.

 1.25   “Notice Date” means the date on which initial Notice is first disseminated to

        Settlement Class Members, as specified by the Notice Plan.

 1.26   “Notice Plan” means the plan for publishing Notice to Settlement Class Members,




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        which is attached as Exhibit B.

 1.27   “Objection” means the formal written notice that a Settlement Class Member submits

        to the Court in order to object to the Settlement.

 1.28   “Objection and Exclusion Deadline” means the date by which a Settlement Class

        Member must submit an Objection to this Agreement or an Opt-Out Form, or other

        written request to opt-out of the Settlement, to the Settlement Administrator.

 1.29   “Objector” means a person who submits a valid Objection in compliance with the

        terms of this Settlement Agreement.

 1.30   “Opt-Out Form” means the form provided by the Settlement Administrator that a

        Settlement Class Member may use to request exclusion from the Settlement. The

        Opt-Out Form is attached hereto as Exhibit E.

 1.31   “Parties” means the Settlement Class Representatives and Meta collectively.

 1.32   “Preliminary Approval Order” means the Court’s order preliminarily approving the

        Settlement Agreement, conditionally certifying the Settlement Class for purposes

        of the Settlement, and authorizing the dissemination of the Notice by the Settlement

        Administrator. A proposed Preliminary Approval Order is attached hereto as

        Exhibit F.

 1.33   “Released Claims” means any and all claims, demands, actions, causes of action,

        lawsuits, arbitrations, damages, or liabilities, whether known or unknown, legal,

        equitable, or otherwise that were asserted or could have been asserted in the

        Actions, regarding the alleged collection, storage, or internal use by Facebook of

        data related to browsing history (such as IP address, Uniform Resource Locator

        (URL), referrer header information, and search terms) obtained from cookies stored




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        on the devices of Facebook Users in the United States who visited non-Facebook

        websites that displayed the Facebook Like button during the Settlement Class

        Period (i) by Settlement Class Representatives and/or any Settlement Class

        Member against Defendant or (ii) by the Defendant against the Settlement Class

        Representatives and/or against the named plaintiffs in all the litigations that were

        consolidated in the Actions, and that occurred during the Settlement Class

        Period. In the event of conflict between the definition of “Released Claims” in this

        Section and the definition used in Exhibits B-H, the definition in this Section shall

        govern.

 1.34   “Released Parties” means Meta, as well as all of Meta’s current and former

        directors, officers, members, administrators, agents, insurers, beneficiaries,

        trustees, employee benefit plans, representatives, servants, employees, attorneys,

        parents, subsidiaries, divisions, branches, units, shareholders, investors, successors,

        predecessors, and assigns, and all other individuals and entities acting on Meta’s

        behalf; and Settlement Class Representatives and all the named plaintiffs in the

        litigations consolidated in the Actions, as well as their agents, representatives,

        servants, attorneys, assigns, and all other individuals and entities acting on their

        behalf.

 1.35   “Releasing Parties” means Meta and all Settlement Class Members, Settlement

        Class Representatives, and named plaintiffs consolidated in the Actions, except the

        Excluded Settlement Class Members.

 1.36   “Service Award” means the award sought by each Settlement Class Representative

        in consideration for their service during the course of the Actions and subsequently




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        approved by the Court. Any such Service Award is separate and apart from any

        Settlement Payments the Settlement Class Representative may receive as a result

        of submitting a Claim as a Settlement Class Member.

 1.37   “Settlement” means the settlement contemplated by this Class Action Settlement

        Agreement.

 1.38   “Settlement Administrator” means the firm of Angeion Group, 1650 Arch Street,

        Suite 2210, Philadelphia, PA 19103, which shall administer the Settlement for the

        Settlement Class, including sending out Notices, processing claims, and performing

        such other usual and customary administrative functions as are required under this

        Settlement Agreement.

 1.39   “Settlement Class” means all persons who, between April 22, 2010 and September

        26, 2011, inclusive, were Facebook Users in the United States that visited non-

        Facebook websites that displayed the Facebook Like button, subject to the

        exclusions in Section 2 below.

 1.40   “Settlement Class Counsel” means proposed Lead Counsel, the proposed Chair of

        Plaintiffs’ Executive Committee, and State Court Counsel as follows:

         (a)   “Lead Counsel” means David A. Straite of DiCello Levitt Gutzler LLC and

               Stephen G. Grygiel of Grygiel Law LLC.

         (b)   “Chair of Plaintiffs’ Executive Committee” means Jay Barnes of Simmons

               Hanly Conroy LLC.

         (c)   “State Court Counsel” means Milberg Coleman Bryson Phillips Grossman,

               PLLC and Richman Law & Policy.

 1.41   “Settlement Class Members” means all members of the Settlement Class, except




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        the following: (a) Meta and any and all of its predecessors, successors, assigns,

        parents,   subsidiaries,    affiliates,   directors,   officers,   employees,   agents,

        representatives, and attorneys, and any and all of the parents’, subsidiaries’, and

        affiliates’ present and former predecessors, successors, assigns, directors, officers,

        employees, agents, representatives, and attorneys; (b) any judicial officer presiding

        over the Actions, or any member of his or her immediate family or of his or her

        judicial staff; (c) any Excluded Settlement Class Member; (d) the Settlement

        Administrator and any and all of its predecessors, successors, assigns, parents,

        subsidiaries, affiliates, directors, officers, employees, agents, representatives, and

        attorneys, and any and all of the parents’, subsidiaries’, and affiliates’ present and

        former predecessors, successors, assigns, directors, officers, employees, agents,

        representatives, and attorneys; and (e) Settlement Class Counsel and any and all of

        their predecessors, successors, assigns, parents, subsidiaries, affiliates, directors,

        officers, employees, agents, representatives, and attorneys.

 1.42   “Settlement Class Period” means the time period between April 22, 2010 and

        September 26, 2011, inclusive.

 1.43   “Settlement Class Representatives” means Perrin Davis, Cynthia Quinn, Brian

        Lentz, and Matthew Vickery, who are named plaintiffs in the MDL Action; and

        Ryan Ung, Chi Cheng, and Alice Rosen, who are named plaintiffs in the State Court

        Action.

 1.44   “Settlement Consideration” means Monetary Consideration and Injunctive Relief

        collectively, as follows:




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         (a)   Monetary Consideration: Ninety million dollars ($90,000,000.00) in cash to

               be paid by Defendant in accordance with the terms of this Settlement

               Agreement; and

         (b)   Injunctive Relief: The Injunctive Relief described in § 5.

 1.45   “Settlement Fund” means the non-reversionary cash fund of ninety million dollars

        ($90,000,000), which represents the Monetary Consideration, to be deposited by

        Defendant into the Escrow Account in accordance with the terms of this Settlement

        Agreement, plus all interest earned thereon. The following shall be paid from the

        Settlement Fund: all Settlement Payments as a result of Approved Claims made by

        Settlement Class Members, Administrative Costs, all applicable taxes, any Service

        Awards, and any Fee and Expense Award to Settlement Class Counsel and Non-

        Class Counsel. The Settlement Fund shall be kept in the Escrow Account until such

        time as the above-listed payments are made. The Settlement Fund includes all

        interest that shall accrue on the sums deposited into the Escrow Account.

        Settlement Class Counsel and/or the Settlement Administrator shall be responsible

        for all tax filings with respect to any earnings on the Settlement Fund and causing

        the payment of all applicable taxes that may be due on such earnings. The

        Settlement Fund represents the total extent of Defendant’s monetary obligations

        under this Agreement. In no event shall Defendant’s total monetary obligations

        under this Agreement exceed or be less than ninety million dollars ($90,000,000).

        The Parties, the Escrow Agent, and the Settlement Administrator agree to treat the

        Settlement Fund as being at all times a “qualified settlement fund” within the

        meaning of Treas. Reg. § 1.468B-1. In addition, the Settlement Administrator shall




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               timely make such elections as necessary or advisable to carry out this provision,

               including the “relation-back election” (as defined in Treas. Reg. §1.468B-1) back

               to the earliest permitted date. Such elections shall be made in compliance with the

               procedures and requirements contained in such regulations.           It shall be the

               responsibility of Lead Counsel and/or the Settlement Administrator to timely and

               properly prepare and deliver the necessary documentation for signature by all

               necessary parties, and thereafter to cause the appropriate filing to occur.

       1.46    “Settlement Payment” means the amount it is determined shall be paid to

               Settlement Class Members who submit Approved Claims.

       1.47    “Settlement Website” means a website created and maintained by the Settlement

               Administrator for the purpose of providing the Settlement Class Members with

               Notice of the proposed Settlement. This website will allow Settlement Class

               Members to submit Claims, update their contact information and payment method,

               and opt-out of the Agreement.

       1.48    “Supreme Court Counsel” means Gupta Wessler PLLC.

2.     SETTLEMENT CLASS DEFINITION AND CERTIFICATION

       2.1      For the sole purpose of the Settlement, Defendant stipulates, agrees, and

consents that the Settlement Class shall be defined as:

                (a)   All persons who, between April 22, 2010 and September 26, 2011,

                      inclusive, were Facebook Users in the United States that visited non-

                      Facebook websites that displayed the Facebook Like button.

               (b)    The Settlement Class excludes Meta and any and all of its current and

                      former predecessors, successors, assigns, parents, subsidiaries, affiliates,




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                      directors, officers, employees, agents, representatives, and attorneys, and

                      any and all of the parents’, subsidiaries’, and affiliates’ current and former

                      predecessors, successors, assigns, directors, officers, employees, agents,

                      representatives, and attorneys.

               (c)    The Settlement Class also excludes counsel for any Party in any of the

                      Actions and any judicial officer presiding over the Actions, or any member

                      of his or her immediate family or of his or her judicial staff.

                (d)   The Settlement Class also excludes Settlement Class Members who

                      timely exercised their right to exclude themselves pursuant to the

                      procedures described in the Notice and/or in § 8 below.

                (e)   The Settlement Class also excludes the Settlement Administrator and

                      any and all of its predecessors, successors, assigns, parents,

                      subsidiaries, affiliates, directors, officers, employees, agents,

                      representatives, and attorneys, and any and all of the parents’,

                      subsidiaries’, and affiliates’ present and former predecessors,

                      successors,   assigns,    directors,   officers,   employees,     agents,

                      representatives, and attorneys.

                (f)   The Settlement Class also excludes Settlement Class Counsel and any

                      and all of their predecessors, successors, assigns, parents, subsidiaries,

                      affiliates, directors, officers, employees, agents, representatives, and

                      attorneys.

       2.2      For the sole purpose of the Settlement, Defendant stipulates, agrees, and

consents that the Settlement Class shall be conditionally certified pursuant to Rule 23(b)(3) of




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  the Federal Rules of Civil Procedure, and will not oppose such a motion for certification. Should

  Preliminary or Final Approval be denied, or the Settlement otherwise be invalidated or

  terminated, Defendant reserves all rights to challenge class certification and Plaintiffs agree not

  to use the fact of the Settlement or any aspect of the negotiation of the Settlement to argue in

  favor of class certification.

          2.3       For the sole purpose of the Settlement, Defendant further stipulates, agrees, and

  consents to appointment of Perrin Davis, Cynthia Quinn, Brian Lentz, Matthew Vickery, Ryan

  Ung, Chi Cheng, and Alice Rosen as Settlement Class Representatives.

          2.4       For the sole purpose of the Settlement, Defendants further stipulate, agree, and

  consent to the appointment of David Straite, Stephen Grygiel and Jay Barnes as MDL Counsel

  pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

          2.5       Defendant does not consent to certification of the Settlement Class for any

  purpose other than to effectuate the Settlement of the Actions. Defendant’s agreement to settle

  these Actions and to conditional certification does not constitute an admission of wrongdoing,

  fault, liability, or damage of any kind to Plaintiffs or any of the putative class members.

  3.      EFFORTS TO FINALIZE THIS SETTLEMENT

       3.1      Cooperation: Settlement Class Counsel and Defense Counsel agree to cooperate fully

with one another in seeking Court approval of the Preliminary Approval Order, Final Approval Order,

and this Settlement, and to use their respective reasonable best efforts, consistent with their duties to

their respective clients, to effect the consummation of the Settlement, including, without limitation,

through the drafting, execution and delivery of documents necessary or appropriate to effect the

consummation of the Settlement. Lead Counsel will draft and file the motions for Preliminary

Approval and Final Approval, and Defendant’s Counsel will be provided with advance copies of these




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papers at least seven (7) days prior to filing and may join the motions or file separate briefs in support

of Preliminary and Final Approval of the Settlement. Further, and without limiting the generality of

the foregoing obligation of cooperation, the Parties agree to cooperate fully with one another and with

their respective counsel to consummate the Settlement. Defendant also agrees to cooperate with Lead

Counsel and the Settlement Administrator in the identification of Settlement Class Members and make

reasonable efforts to provide information for efficient and timely distribution of the Settlement Fund.

       3.2      Motion for Preliminary Approval: Promptly following execution of this

Agreement, Plaintiffs shall apply to the Court for entry of the Preliminary Approval Order asking the

Court preliminarily to approve the Settlement, approve the Notice Plan, approve Angeion as the

Settlement Administrator, certify the Actions to proceed as a class action for Settlement purposes

only, appoint MDL Counsel and appoint Perrin Davis, Cynthia Quinn, Brian Lentz, Matthew Vickery,

Ryan Ung, Chi Cheng, and Alice Rosen as Settlement Class Representatives.

       3.3      Motion for Final Approval and Entry of Final Approval Order: If the Court

preliminarily approves this Settlement Agreement, Plaintiffs shall submit a motion for final approval

of this Settlement by the deadline provided in the Preliminary Approval Order, after appropriate

Notice to the Settlement Class, and shall seek entry of the Final Approval Order.

       3.4      Effect If Settlement Not Approved. The Settlement Agreement is being entered into

for Settlement purposes only. If the Court does not grant Preliminary Approval or Final Approval; if

the Agreement is terminated and/or not consummated for any reason; or if the Effective Date does not

occur, this Settlement Agreement will be deemed null and void ab initio. In that event:

                (a) The Preliminary Approval Order and the Final Approval Order, to the extent they

                    have been entered by the Court, will be vacated by operation of law;

                (b) The Parties will be restored to their respective positions immediately preceding




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                  execution of the Agreement, and any intervening Court rulings or decisions shall

                  be vacated;

               (c) Any order certifying the Settlement Class for purposes of effectuating this

                  Agreement, and all preliminary and/or final findings regarding that class

                  certification order, shall be automatically vacated upon notice of the same to the

                  Court, the Actions shall proceed as though the Settlement Class had never been

                  certified pursuant to this Agreement and such findings had never been made, and

                  the Actions shall return to the procedural status quo in accordance with this

                  paragraph. Settlement Class Counsel shall not refer to or invoke the vacated

                  findings and/or order relating to class settlement in the event this Agreement is

                  not consummated and the case is later litigated and contested by the Parties under

                  Rule 23 of the Federal Rules of Civil Procedure.

               (d) No term or condition of the Agreement, or any draft thereof, or any discussion,

                  negotiation, documentation, or other part or aspect of the Parties’ settlement

                  discussions shall have any effect; nor shall any such matter be admissible as

                  evidence for any purpose in the Actions or any other proceeding; nor shall any

                  such matter be used in the Actions for any purpose whatsoever; and

               (e) Defendant will retain all of its rights to object to any attempt by Plaintiffs to

                  reference, cite to, or rely upon, in any way, the Agreement or any factual or legal

                  statement or conclusion within it, including as to the feasibility of the maintenance

                  of the Actions as class actions.

      3.5      Modifications Suggested by the Court. If the Court suggests any modifications to

the Agreement or conditions either Preliminary Approval or Final Approval on modifications to the




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Agreement, the Parties shall, working in good faith and consistent with the Agreement, endeavor to

address and resolve any such issues identified by the Court. However, the Parties shall not be

obligated to make any material additions or modifications to the Agreement that would affect the

benefits provided to Settlement Class Members, or the cost to or burden on Defendant, including

additional or modified changes in practices, the content or extent of Notices required to Settlement

Class Members, or the scope of any of the releases contemplated in this Agreement. If the Court

orders any such material additions or modifications, the Parties will each have the right to terminate

the Settlement Agreement within ten (10) days from the date of the Court’s order or proposal. If any

Party elects to terminate the Settlement Agreement pursuant to this section, the Agreement will be

deemed null and void ab initio and the provisions of § 3.4 will apply.

       3.6      Notwithstanding the foregoing, the Parties will not be entitled to terminate this

Settlement Agreement based on any order relating to MDL Counsel’s anticipated motion for a Fee

and Expense Award or to Plaintiffs’ anticipated motion for Service Awards to the Plaintiffs, nor any

appeal from such order or reversal or modification thereof.

  4.     SETTLEMENT FUND

         4.1        Subject to the terms of this Agreement, Defendant shall pay or cause to be paid

  into the Escrow Account (i) a portion of the Settlement Fund that will cover the Administrative

  Costs associated with Notice within fourteen (14) days after the issuance of the Court’s

  Preliminary Approval Order and (ii) the remainder of the Settlement Fund within thirty (30) days

  after the issuance of the Court’s Final Approval Order. The Settlement Fund of ninety million

  dollars ($90,000,000) represents Defendant’s total Monetary Consideration and financial

  commitment under this Agreement, and Defendant shall have no other financial obligations under

  this Agreement.




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       4.2      Net Settlement Fund. The total amount distributed to the Settlement Class

Members shall be the Settlement Fund and any earnings thereon, less the Administrative Costs,

any amount awarded by the Court for any Fee and Expense Award to Settlement Class Counsel

and Non-Class Counsel, and any Service Awards. This total amount to be distributed to the

Settlement Class Members is the Net Settlement Fund.

       4.3      Settlement Payments to Settlement Class Members. The entire Net Settlement

Fund will be distributed to Settlement Class Members who submit Approved Claims and have

not submitted a valid and timely request for exclusion from the Settlement Class.             Each

Authorized Claimant will be entitled to receive an equal share of the Net Settlement Fund. This

sum will be calculated by the Settlement Administrator and will be based upon the number of

Authorized Claimants and the amount of the Net Settlement Fund.

       4.4      Payment Method. For each Authorized Claimant, the Settlement Administrator

shall provide Settlement Payments through the method designated by the Authorized Claimant,

i.e., by ACH, PayPal, Zelle, Venmo, a virtual prepaid Mastercard, or check.

       4.5      Unclaimed or Unprocessed Payments. All checks will state on their face that

the check will expire and become null and void unless cashed within ninety (90) days after the

date of issuance. If a Settlement Class Member fails to negotiate a check within the ninety (90)

day time period, they shall forever waive and release their claim for payment under this

Agreement.    If any check is returned within fifteen (15) days of mailing, the Settlement

Administrator will attempt to obtain a new mailing address for that Settlement Class Member

within ten (10) days of receipt of the returned check; if, after a second mailing the check is again

returned or the Settlement Administrator is unable to determine a second mailing address, no

further efforts need be taken by the Settlement Administrator to resend the check. In the event




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that an electronic payment via ACH, PayPal, Zelle, Venmo, or a virtual prepaid Mastercard to a

Settlement Class Member is unable to be processed, the Settlement Administrator shall attempt

to contact the Settlement Class Member within fifteen (15) days to correct the problem; if the

Settlement Class Member does not provide a means of payment, which results in payment to the

Settlement Class Member, within fifteen (15) days, no further efforts need be taken by the

Settlement Administrator to make the payment and the Settlement Class Member shall forever

waive and release their claim for payment under this Agreement.

       4.6      Minimum Payment.          Notwithstanding the provisions in § 4, after initial

Settlement Payments are made, no additional Settlement Payment or Second Distribution as

defined in § 4.9, below shall be made to an Authorized Claimant if the total amount of that

additional payment would not be administratively and economically feasible, as determined by

the Settlement Administrator.

       4.7      Distribution of Residual Funds. If, after the process outlined above in this

section is completed, there are unclaimed monies remaining in the Net Settlement Fund, and if

practicable, these funds (less any additional Administrative Costs) shall be distributed on an equal

basis to each Authorized Claimant who received a Settlement Payment that was electronically

processed or a check which was negotiated. These second distribution shall be made with the

same method of payment made during the first distribution. However, if it is not administratively

and economically feasible, as determined by the Settlement Administrator, to make a second

distribution which includes a non-electronic payment, i.e., a payment by a mailed check, then the

second distribution from the Net Settlement Fund will only be made to Authorized Claimants who

elected to receive a Settlement Payment through ACH, PayPal, Zelle, Venmo, or a virtual prepaid

Mastercard, and the monies will be distributed only to those persons on an equal basis.




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       4.8      Final Distribution of Non-Reversionary Remaining Funds. To the extent that

any second distribution is not administratively and economically feasible, as determined by the

Settlement Administrator, or funds remain in the Net Settlement Fund for an additional one

hundred (100) days after the second distribution, the Parties shall confer and present a proposal

for treatment of the remaining funds to the Court. In no event shall any such remaining funds

revert to the Defendant, be paid to Settlement Class Counsel, Non-Class Counsel, or any other

attorney for any Settlement Class Members, or be added to any Service Awards.

       4.9      Timing of Payment. Settlement Payments from the Net Settlement Fund shall

be distributed to Settlement Class Members who submit Approved Claims within forty-five (45)

days following the Effective Date.      Distribution of residual funds shall be distributed in

accordance with §§ 4.7 and 4.8 above once the Settlement Administrator has determined the

amount of unclaimed or unprocessed payment remaining in the Net Settlement Fund.

5.     INJUNCTIVE RELIEF

       5.1      Defendant represents that it has undertaken a diligent and careful search to collect

and sequester from all of Defendant’s potentially relevant systems all cookie data as pled in the

Complaint (i) that Facebook received or collected from, about, or associated with Facebook Users

in the United States who visited non-Facebook websites that displayed the Facebook Like button

between April 22, 2010 and September 26, 2011, inclusive, and (ii) that may be used to identify

a specific Facebook User from Facebook cookies (collectively, the “Settlement Class Data”). As

non-financial consideration and injunctive relief for the Settlement Agreement, Defendant will

delete the sequestered Settlement Class Data from Defendant’s systems to the extent not already

deleted in accordance with provisions of this section. Defendant agrees that it will timely provide

to Settlement Class Counsel a confirmatory declaration that will permit Settlement Class Counsel




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to conclude that Defendant has satisfied its required data sequestration and deletion obligation.

        5.2         The agreement to delete the sequestered Settlement Class Data will be

implemented by the Defendant within 180 days from the Effective Date of this Settlement. In no

event and at no time will the Defendant use the sequestered data described in § 5.1 for any purpose

except to effectuate the Settlement.

        5.3         Defendant’s commitment to take the actions described in this Section is subject

to state, federal, local, court, and/or agency statute, mandate, regulation, regulatory guidance, or

court order (collectively, “Legal Requirements”). In a situation in which Legal Requirements

obligate the Defendant to make material modifications to its commitments in this section,

Defendant will provide the earliest practicable notice to Plaintiffs via Settlement Class Counsel

before the modification goes into effect.

        5.4         Defendant does not admit that it is required by law to take any measure described

in this section.

6.      CLAIMS PROCESS

        6.1        Claim Forms. For purposes of determining whether a Settlement Class Member

is to be treated as an Authorized Claimant, each Settlement Class Member shall be entitled to

submit one Claim Form for Settlement Payment as described in this section. The Claim Form,

which shall be in all material respects substantially in the form set forth in Exhibit D attached

hereto, may be completed and submitted online, or timely sent by U.S. mail to the Settlement

Administrator. The Claim Form will notify the Settlement Class Members that their personal

information will be processed for the purposes of effectuating the Settlement.

                   (a)    If submitted electronically, the Claim Form must be submitted no later than

                          11:59 p.m. Pacific Standard Time on or before the Claims Deadline.




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               (b)     If submitted by U.S. mail, the Claim Form must be postmarked no later than

                       the Claims Deadline. The date of the postmark on the envelope containing

                       the claims form shall be the exclusive means used to determine whether a

                       claims form has been timely submitted. In the event a postmark is illegible,

                       the date of mailing shall be deemed to be three (3) days prior to the date that

                       the Settlement Administrator received a copy of the claims form. The

                       Settlement Class Member must pay for postage.

       6.2             Claims Deadline. The Claims Deadline shall be seventy (70) days after

the Notice Date and shall be clearly stated in the Notice and on the Claim forms.

       6.3     Claims Review.       The Settlement Administrator shall review all Claims to

determine their validity. The Settlement Administrator shall use industry-leading fraud-detection

measures and reject any Claim that: (i) does not comply in any material respect with the

instructions on the form; (ii) is not submitted by a Settlement Class Member; (iii) is a duplicate of

another Claim; (iv) is a fraudulent Claim; (v) or is submitted after the Claims Deadline. The

Settlement Administrator’s determination as to the validity of a claim shall be final, subject to

§ 6.6 below.

       6.4     Curable Deficiencies. Prior to the rejection of a Claim Form, the Settlement

Administrator shall communicate with the person who submitted the Claim in an effort to remedy

any curable deficiencies in the Claim Form. The Settlement Administrator shall have the authority

to review any Claimant’s attempts to remedy deficiencies and to subsequently determine the

validity of such Claims under § 6.3.

       6.5     Notification of Rejected Claims. Following any effort to resolve any curable

deficiencies under § 6.4, the Settlement Administrator shall promptly notify by email (or U.S. mail




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if an email address is unknown) all claimants whose Claim Forms the Settlement Administrator

proposes to reject, in whole or in part, and provide its reasons.

         6.6   Claims Disputes and Inquiries. The Settlement Administrator shall notify Lead

Counsel and Defendant’s Counsel of any disputes regarding the rejection of a Claim. Lead

Counsel and Defendant’s Counsel may review any Claims rejected by the Settlement

Administrator. If Lead Counsel and Defendant’s Counsel agree that a Claim was improperly

rejected, the Claim shall be deemed valid and paid. If Lead Counsel and Defendant’s Counsel do

not agree as to whether a Claim was improperly rejected, the decision of the Settlement

Administrator shall be final.

         6.7   Claims Processing. As soon as reasonably possible after the Claims Deadline, and

after all Claims have been processed to determine their validity, the Settlement Administrator will

provide Lead Counsel and Defendant’s Counsel with a list of Authorized Claimants with

Approved Claims and a list of all Claims it deems invalid or untimely. Within thirty (30) business

days of receiving the list of Claimants with Approved Claims from the Settlement Administrator,

Defendant shall provide to the Settlement Administrator available data requested by the Settlement

Administrator that is necessary to administer the Claims process. The Settlement Administrator

will use this data, as well as data from the Claim Forms, to determine the Settlement Payment each

Authorized Claimant will be paid from the Net Settlement Fund, as outlined in § 4. The provision

and use of additional available data for Claims processing is subject to state, federal, local, court

and/or agency statutes, mandates, regulations, regulatory guidance, industry standards, or court

order.

         6.8   Claims Database. As soon as reasonably possible, the Settlement Administrator

will provide Lead Counsel and Defendant’s Counsel the total number of Authorized Claimants.




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The Settlement Administrator will maintain a secure database of Claims, in which the Settlement

Administrator will maintain all relevant information captured from claimants’ Claim Forms. The

secure database must be equipped with, at minimum, industry standard measures for data security,

including but not limited to access control rights to only those persons entitled to access the

Settlement Class Member information under this Agreement.

           6.9   Data Privacy and Security. The Settlement Administrator shall act in compliance

with the Amended Stipulated Protective Order, dated January 14, 2022 (see ECF No. 227),

including but not limited to making all necessary efforts and precautions to ensure the security and

privacy of Settlement Class Member information and protect it from loss, misuse, unauthorized

access and disclosure, and to protect against any reasonably anticipated threats or hazards to the

security of the Settlement Class Member information; not using the information provided by

Defendant’s or Settlement Class Counsel in connection with the Settlement or this Notice Plan for

any purposes other than providing notice or conducting claims administration; and not sharing

Settlement Class Member information with any third parties without advance consent from the

Parties.

7.         NOTICE PLAN AND ADMINISTRATION OF THE SETTLEMENT

           7.1    Notice to the Settlement Class. Notice of the Settlement will be made to

Settlement Class Members in accordance with the Notice Plan attached as Exhibit B. The Parties

shall agree on the form and content of the notices contemplated in the Notice Plan, which must be

consistent with the Notice of Proposed Settlement of Class Action attached as Exhibit C.

           7.2    CAFA Notice. Not later than 10 days after this Settlement Agreement is filed with

the Court, the Settlement Administrator, at Defendant’s direction, shall serve notice of the

Settlement and other required documents upon relevant government officials in accordance with



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the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715. Prior to the Preliminary Approval

hearing, the Settlement Administrator shall provide proof of service of such notice for filing with

the Court.

       7.3      Administration of Settlement. The Settlement Administrator shall implement the

terms of the Settlement Agreement and administer this Settlement subject to the jurisdiction of the

Court and pursuant to this Agreement and the Notice Plan.            The Defendant shall have no

responsibility for reviewing, challenging, or approving any Claim Form, nor in distributing the Net

Settlement Fund except as to the procedures laid out in § 6 above.

       7.4      Settlement Administrator.        The Settlement Administrator shall maintain

reasonably detailed records of its activities under this Agreement and maintain such records as are

required by applicable law in accordance with its normal business practices. The Settlement

Administrator shall be responsible for:

             (a) Disseminating Notice in accordance with this Agreement, the Notice Plan, and

                 the Court’s orders;

             (b) Monitoring and responding to inquiries from Settlement Class Members in a

                 timely fashion and, where necessary, forwarding such written inquiries to Lead

                 Counsel;

             (c) Accurately and objectively describing the terms of the Agreement in

                 communications with Settlement Class Members, including training its

                 employees and agents accordingly;

             (d) Receiving and compiling Opt-Out Forms and any other correspondence

                 requesting exclusion from the Settlement Class;

             (e) Receiving and processing Claims, determining the validity of Claims,



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                 maintaining a secure database of Claims as required in § 6.8 above, and

                 distributing Settlement Payments to Settlement Class Members;

             (f) Providing periodic reports and accountings on Claims, Objections, Opt-Out

                 Forms and any other requests for exclusion from the Settlement, and any other

                 such information that may be reasonably requested by Settlement Class Counsel

                 or Defendant’s Counsel;

             (g) Preparing declaration(s) attesting to compliance with the Notice requirements in

                 this Agreement and providing such declaration(s) to Lead           Counsel and

                 Defendant’s Counsel, who will file such declaration(s) with the Court as needed;

             (h) Seeking further clarification or authorization from Settlement Class Counsel and

                 Defendant’s Counsel when necessary for performance of its duties and the

                 expenditure of cash from the Settlement Fund;

             (i) Ensuring the privacy and security of data associated with Settlement Class

                 Members as required in § 6.9 above; and

             (j) Otherwise assisting with implementation and administration of the terms of this

                 Settlement Agreement.

       7.5      Administrative Costs. The Parties will obtain from the Settlement Administrator

its best estimate of such anticipated administrative costs, which shall then be set aside from the

Settlement Fund. All Administrative Costs will be drawn from the Settlement Fund by the

Settlement Administrator, subject to written approval of Defendant’s Counsel and Lead Counsel.

       7.6      Any Settlement Class Member who does not submit a timely and valid Claim

Form and who does not timely submit an Opt-Out Form, will not be entitled to receive any payment

from the Net Settlement Fund, but will otherwise be bound by all of the terms in this Agreement




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and the Settlement, including the terms of the Final Approval Order to be entered in the Actions

and the releases provided for herein, and will be barred from bringing any action concerning the

Released Claims.

       7.7     This is a non-reversionary settlement. Defendant shall have no right to the return of

any portion of the Monetary Consideration, irrespective of the number of Settlement Class Members

who receive payments, the collective estimated damages of Authorized Claimants, or the percentage

recovery of estimated damages, unless the Settlement is terminated in accordance with this

Agreement.

8.     OBJECTIONS AND EXCLUSIONS

       8.1     Objections. Any Settlement Class Member who has not submitted a timely

completed and valid Opt-Out Form or otherwise requested in writing to opt-out of the Settlement

and who wishes to object to the fairness, reasonableness, or adequacy of the Settlement, the Fee

and Expense Award, or the Service Awards must comply with the requirements contained in this

section.

       8.2     Content of Objections. All Objections and supporting papers must be in writing

and must do the following:

                (a)   Clearly identify the case name and number;

                (b)   Include the Objector’s full name, address, telephone number, email

                      address; Facebook account URL (if reasonably available); the email

                      address and telephone number associated with the Settlement Class

                      Member’s Facebook account; and his or her signature;

                (c)   Include the full name, address, telephone number, and email address of

                      the Objector’s counsel (if the Objector is represented by counsel); and




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                (d)    State whether it applies only to the Objector, to a specific subset of the

                       Settlement Class, and also state with specificity the grounds for the

                       objection, including any legal and factual support and any evidence in

                       support of the Objection.

       8.3     Submission of Objections. Any comments or Objections from Settlement Class

Members regarding the proposed Settlement Agreement must be submitted in writing, to the

Court either by mailing them to the Class Action Clerk, United States District Court for the

Northern District of California, or by filing them in person at any location of the United States

District Court for the Northern District of California, and be filed or postmarked on or before

the Objection and Exclusion Deadline. If a Settlement Class Member does not submit a timely

written Objection, or if the Settlement Class Member does not request participation in the Final

Fairness Hearing, the Settlement Class Member will not be able to participate in the Final

Fairness Hearing.

       8.4     Deadline for Objections. Objections must be submitted by the Objection and

Exclusion Deadline.

                (a)    If filed in person, Objections must be filed by the Objection and

                       Exclusion Deadline.

                (b)    If submitted by U.S. mail, Objections must be postmarked by the

                       Objection and Exclusion Deadline. The date of the postmark on the

                       envelope containing the written statement objecting to the Settlement

                       shall be the exclusive means used to determine whether an Objection

                       and/or intention to appear has been timely submitted. In the event a

                       postmark is illegible, the date of mailing shall be deemed to be three (3)




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                       days prior to the date that the Class Action Clerk received the Objection.

                       The Settlement Class Member must pay for Postage.

                (c)    Settlement Class Members who fail to submit timely written Objections

                       in the manner specified above shall be deemed to have waived any

                       objections and shall be forever barred from making any objection to the

                       Agreement and the proposed Settlement by appearing at the Final

                       Fairness Hearing, appeal, collateral attack, or otherwise.

       8.5     Attendance at Final Fairness Hearing. Any Objector who timely submits an

Objection no later than the due date for any opposition to the Motion for Final Approval of the

Settlement has the option to appear and request to be heard at the Final Fairness Hearing, either

in person or through the Objector’s counsel. Any Objector wishing to appear and be heard at

the Final Fairness Hearing must include a Notice of Intention to Appear in the body of the

Objector’s Objection. Objectors who fail to submit or include this Notice of Intention to Appear

may not speak at the Final Fairness Hearing without permission of the Court.

       8.6     Objectors’ Attorneys’ Fees and Expenses. If an Objector makes an Objection

through an attorney, the Objector shall be solely responsible for his or her attorneys’ fees and

expenses.

       8.7     Court Order for Payments to Objectors. Unless ordered by the Court after a

hearing, no payment or other consideration may be provided to an Objector or an Objector’s

counsel in connection with foregoing or withdrawing an Objection or foregoing, dismissing, or

abandoning an appeal from a judgment approving the Settlement, Service Awards, or the Fee

and Expense Award.

       8.8     No Solicitation of Settlement Objections. At no time shall any of the Parties or



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their counsel seek to solicit or otherwise encourage Settlement Class Members to submit written

Objections to the Settlement or encourage an appeal from the Court’s Final Approval Order.

       8.9     Requests for Exclusion. The Notice shall advise all Settlement Class Members

of their right to exclude themselves from the Settlement. This Settlement Agreement will not

bind Settlement Class Members who opt-out of the Settlement.

       8.10    How to Opt-Out. To request to be excluded from the Settlement, Settlement

Class Members must timely submit a completed Opt-Out Form or other written request for

exclusion from the Settlement. This Opt-Out Form may be completed electronically pursuant to

direction from the Settlement Administrator or timely sent by U.S. mail to the Settlement

Administrator. If the Settlement Class Member chooses to request exclusion from the Settlement

without an Opt-Out Form, such request must be timely sent by U.S. mail to the Settlement

Administrator, request exclusion, providing their name, address, a signature, the name and

number of the Actions, and a clear and explicit statement that they wish to be excluded from the

Settlement.

       8.11    Deadline to Opt-Out. To be excluded from the Settlement, the Opt-Out Form

or any written request to opt-out must be completed by the Objection and Exclusion Deadline.

                (a)   If submitted electronically, the Opt-Out Form or any written request to

                      opt-out must be submitted no later than 11:59 p.m. PST on or before the

                      Objection and Exclusion Deadline.

                (b)   If submitted by U.S. mail, the Opt-Out Form or any written request to opt-

                      out must be postmarked no later than the Objection and Exclusion

                      Deadline. The date of the postmark on the envelope containing the written




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                       request to opt-out shall be the exclusive means used to determine whether

                       an request to opt-out has been timely submitted. In the event a postmark

                       is illegible, the date of mailing shall be deemed to be three (3) days prior

                       to the date that the Settlement Administrator received a copy of the request

                       to opt-out of the Settlement. The Settlement Class Member must pay for

                       Postage.

        8.12    Effect of Opt-Out. Any person who falls within the definition of the Settlement

 Class and who validly and timely requests exclusion from the Settlement shall not be a

 Settlement Class Member; shall not be bound by the Settlement Agreement; shall not be eligible

 to make a Claim for any benefit under the terms of the Settlement Agreement; and shall not be

 entitled to submit an Objection to the Settlement.

        8.13    Exclusion List. No later than seven (7) days after the Objection and Exclusion

 Deadline, the Settlement Administrator shall provide Lead Counsel and Defendant’s Counsel

 with a list of all persons who have timely and validly excluded themselves from the Settlement.

 The Exclusion List shall be filed with the Court as part of the Motion for Final Approval.

 9.     RELEASES

       9.1      No Admission of Liability. This Settlement Agreement is made in compromise

of a dispute. Neither the Agreement nor anything that the Parties stated or did during the

negotiation of the Agreement shall be construed or used in any manner as an admission of liability

or evidence of either party’s fault, liability, or wrongdoing. Defendant expressly denies any

liability or wrongdoing whatsoever.

        9.2     Releases. Upon the Effective Date of this Agreement, the Releasing Parties, on

 behalf of themselves and their heirs, executors, administrators and assigns, and any person(s) they



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 represent, shall be deemed by this Settlement to, and shall, release, dismiss, and finally and forever

 discharge the Released Claims, and will not in any manner pursue the Actions or any claims that

 were asserted or could have been asserted in the Actions; and shall be deemed by this Settlement

 to, and shall be forever barred from asserting, instituting, prosecuting, or maintaining against the

 Released Parties, any and all Released Claims. It is the intention of the Parties that any liability

 of the Released Parties relating to the Released Claims be eliminated.

         9.3    Waiver of California Civil Code § 1542. The Releasing Parties expressly waive

 and relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of

 California Civil Code § 1542, or any other similar provision under federal or state law. Releasing

 Parties understand that California Civil Code § 1542 states:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
        TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR OR RELEASED PARTY.

The Releasing Parties expressly waive and relinquish any and all rights and benefits that they may

have under, or that may be conferred upon them by, the provisions of Section 1542 of the California

Civil Code, or any other law of any state or territory that is similar, comparable, or equivalent to

Section 1542, to the fullest extent that they may lawfully waive such rights or benefits pertaining to

the Released Claims. In connection with such waiver and relinquishment, the Releasing Parties

hereby acknowledge that they are aware that they or their attorneys may hereafter discover claims

or facts in addition to or different from those that they now know or believe exist with respect to

the Released Claims, but that it is their intention to hereby fully, finally, and forever settle and

release all of the Released Claims known or unknown, suspected or unsuspected, that they have

against the Released Parties. In furtherance of such intention, the release herein given by the



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Releasing Parties to the Released Parties shall be and remain in effect as a full and complete general

release notwithstanding the discovery or existence of any such additional different claims or facts.

Each of the Parties expressly acknowledges that he/she/it has been advised by his/her/its attorney

of the contents and effect of Section 1542, and with knowledge, each of the Parties hereby expressly

waives whatever benefits he/she/it may have had pursuant to such section. Plaintiffs acknowledge,

and the Settlement Class Members shall be deemed by operation of the Final Judgment to have

acknowledged, that the foregoing waiver was separately bargained for and a material element of the

Settlement of which this release is a part.

         9.4     Release of Unknown Claims. The Releasing Parties fully understand that the facts

 on which this Settlement Agreement is executed may be different from the facts now believed by

 Releasing Parties and their counsel to be true. The Releasing Parties expressly accept and assume

 the risk of this possible difference in understandings of facts and agree that this Settlement

 Agreement remains effective despite any difference in such understandings of facts.              The

 Releasing Parties further agree that this waiver, and the waiver of California Civil Code § 1542 in

 § 9.3, are essential and material terms of this Agreement and the Settlement that underlies it and

 that without such waivers the Settlement would not have been agreed to.

         9.5     Nothing in this Agreement is intended to alter the standard terms and conditions for

 the use of Defendant’s products or services by its users, or Defendant’s enforcement of the

 standard terms and conditions for the use of its products or services. To the extent any conflict

 exists between the terms and conditions of this Settlement Agreement and the Defendant’s

 standard terms and conditions, the terms and conditions of the Settlement Agreement shall control.

 10.     SETTLEMENT CLASS COUNSEL’S FEES AND EXPENSES

         10.1    Fee and Expense Award. MDL Counsel will apply to the Court seeking a portion



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of the Settlement Fund as payment of their and State Court Counsel’s reasonable attorneys’ fees

and actual expenses incurred in connection with prosecuting the Actions (the “Fee Application”).

The Fee Application may also seek an award of fees and expenses incurred by Non-Class Counsel.

Defendant expressly reserves the right to oppose the Fee Application seeking a Fee and Expense

Award for any reason, at its discretion.

       10.2    Disclosure of Amounts Sought. In their Motion for Preliminary Approval of the

Settlement and supporting papers, Lead Counsel will provide the maximum amount of the

Settlement Fund they will seek from the Court as attorneys’ fees, as well as the maximum amount

of expenses (including best estimates for expenses not yet charged) for which they will seek

reimbursement.

       10.3    Payment of Attorneys’ Fees and Expenses.           Upon Court approval of Lead

Counsel’s Fee Application, Settlement Class Counsel and Non-Class Counsel will be entitled to

payment of the fees and expenses awarded by the Court from the Settlement Fund and these sums

shall be paid by the Administrator on a schedule ordered by the Court.

       10.4    The procedure for and the allowance or disallowance by the Court of any application

by Lead Counsel for attorneys’ fees and expenses is not a material term of the Settlement or this

Agreement and it is not a condition of this Agreement that any particular application for attorneys’

fees or expenses be approved.

       10.5    Should the Court approve any awards of fees and/or expenses to Settlement Class

Representatives (separate and apart from the Fee and Expense Award to Settlement Class Counsel

and Non-Class Counsel), those awards shall be paid to Settlement Class Representatives within

fourteen (14) days after the Effective Date.




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11.    SERVICE AWARDS

       11.1   Generally. Lead Counsel may seek Service Awards for each Settlement Class

              Representative in consideration for their service during the course of the Actions and

              commensurate with their participation in the Actions.

       11.2   Amount of Service Awards. Any Service Awards are separate and apart from any

              Settlement Payments the Settlement Class Representatives may receive as a result of

              submitting Claims as Settlement Class Members. Defendant has agreed not to

              oppose Service Awards to the extent they do not exceed $5,000 for each Settlement

              Class Representative.

       11.3   Motion for Service Awards. Lead Counsel will provide the specific amounts they

              will seek in Service Awards for the Settlement Class Representatives at the same

              time they file a motion for attorneys’ fees and expenses.

       11.4   No Condition of Support. Each Settlement Class Representative shall receive any

              Service Award they are awarded by the Court, irrespective of whether they support

              the terms of the Settlement.

       11.5   Payment of Service Awards. If awarded by the Court, the Service Awards shall be

              payable from the Settlement Fund by the Administrator within fourteen (14) days

              after the Effective Date. The Service Awards shall be sent to the Settlement Class

              Representatives through an ACH Transfer or check.




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12.    NOTICES

       If any Party is required to give notice to any other Party under this Agreement, such notice

shall be in writing and shall be deemed to have been duly given upon receipt of hand- delivery,

overnight courier, or electronic mail transmission, and shall be addressed as follows:

       To Plaintiffs and the Settlement Class:

                       David A. Straite, Esq.
                       dstraite@dicellolevitt.com
                       DiCELLO LEVITT GUTZLER LLC
                       One Grand Central Place
                       60 E. 42nd St., Suite 2400
                       New York, NY 10165
                       Tel.: (646) 933.1000
                               -and-

                       Stephen G. Grygiel
                       sgrygiel@silvermanthompson.com
                       GRYGIEL LAW LLC
                       301 Warren Avenue, Suite 405
                       Baltimore, MD 21230
                       Tel.: (407) 505-9463

        To Defendant:

                       Michael G. Rhodes, Esq.
                       Kyle C. Wong, Esq.
                       rhodesmg@cooley.com
                       kwong@cooley.com
                       COOLEY LLP
                       3 Embarcadero Center
                       San Francisco, CA 94111-4004
                       (415) 693-2000


13.    TERMINATION

       13.1     The Parties shall have the right to terminate the Settlement and this Agreement

by providing written notice of their election to do so to all other Parties within ten (10) days of:




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               (a)     the Court’s declining to enter the Preliminary Approval Order in any
                       material respect (except the award of attorneys’ fees);

               (b)     the Court’s refusal to approve the Agreement or any material part of it;

               (c)     the Court’s declining to enter the Final Approval Order in any material
                       respect; and

               (d)     the date upon which the Final Approval Order is modified or reversed
                       in any material respect by the Court of Appeals or the Supreme Court
                       of the United States.

Any order of the Court or any appellate court with respect to the application for or award of

attorneys’ fees and expenses to Settlement Class Counsel or application for or awards to

Settlement Class Representatives shall not be grounds for termination.

       13.2     In addition to all of the rights and remedies that Settlement Class Representatives

have under the terms of this Agreement, Settlement Class Representatives shall also have the right

to terminate the Settlement in the event that the Defendant does not pay the monetary portion of

the Settlement Consideration in the time period provided for in § 4.1 above.

       13.3     If the Settlement is terminated pursuant to the terms hereof, the Settlement Fund,

together with any interest earned thereon, less any Taxes paid or due with respect to such income,

and less any Administrative Costs actually incurred or paid, shall be returned to the Defendant.

14.    STAY AND RESUMPTION OF LITIGATION

       The Parties agree that all further proceedings related to the Actions shall be stayed during

the course of the Settlement proceedings but shall promptly recommence in a reasonable manner

to be approved by the Court if the Settlement is not preliminarily or finally approved by the Court

or the Settlement does not otherwise become effective. If the stay of the State Court Action is lifted

as a result of the Settlement not being preliminarily or finally approved by the Court or otherwise

not becoming effective, the State Court Action Plaintiffs shall have the right to resume further




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 proceedings in that action. Settlement Class Representatives shall also have the right to move for

 relation, consolidation, or centralization of any action during the Settlement proceedings.

 15.    MISCELLANEOUS
       15.1     Governing Law: The construction, interpretation, operation, effect and validity of

this Agreement, and all documents necessary to effectuate it, shall be governed by the internal laws

of the State of California without regard to conflict of laws, except to the extent that federal law

requires that federal law govern.

       15.2     Protective Order: This Agreement shall be governed by the terms of the Stipulated

Protective Order in the MDL Action, which the State Court Action Plaintiffs have also executed and

become parties to, and any amendment thereto. See MDL Action, ECF Nos. 75, 169, and 227. Any

data provided to the Administrator for purposes of this Settlement shall also be in accordance with

the terms of the Stipulated Protective Order in the MDL Action and any amendments thereto. In the

event of conflict between the terms of this Agreement and the terms of the Stipulated Protective

Order in the MDL Action, the Stipulated Protective Order will govern.

       15.3     Taxes: Settlement Class Members, Settlement Class Representatives, Settlement

Class Counsel, and Non-Class Counsel are responsible for paying any and all federal, state, and local

taxes due on any payments to them pursuant to the Settlement Agreement and/or order of the Court.

       15.4     Jurisdiction: Without affecting the finality of the Final Approval Order entered in

accordance with this Agreement, the Court shall retain jurisdiction with respect to implementation

and enforcement of the terms of the Agreement and Final Approval Order, and the Parties submit to

the jurisdiction of the Court for purposes of implementing and enforcing the Settlement embodied in

the Agreement and Final Approval Order.

       15.5     No Party is the Drafter: This Agreement shall not be construed more strictly against




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one Party than another merely by virtue of the fact that it, or any part of it, may have been prepared

by counsel for one of the Parties, it being recognized that it is the result of arm’s - length negotiations

among the Parties.

         15.6    Integration:

                 (a)     All of the Exhibits attached hereto are material and integral parts hereof

                         and are hereby incorporated by reference as though fully set forth herein.

                 (b)     This Settlement Agreement and its Exhibits and the Stipulated Protective

                         Order constitute the entire agreement among the Parties concerning the

                         Settlement of the Litigation, and no representations, warranties, or

                         inducements have been made by any Party concerning this Agreement and

                         its Exhibits other than those contained and memorialized in such

                         documents.

        15.7    Headings: The headings herein are used for the purpose of convenience only and are

not meant to have legal effect.

        15.8    Non-Evidentiary Use

        (a)      This Settlement Agreement represents a compromise of disputed claims and the

negotiations, discussions, and communications in connection with or leading up to and including

the Settlement are not and shall not be construed as admissions or concessions by any of the Parties,

either as to any liability or wrongdoing or as to the merits of any claim or defense.

        (b)      Neither the existence of this Settlement Agreement nor any of its provisions shall

be offered or received against or to the prejudice of any party or its agents in the Action or in any

other action, arbitration or proceeding as admissions or concessions of liability or wrongdoing of

any nature on the part of the other Party, or as admissions or concessions concerning the merits of




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any claim or defense, other than in connection with any action, motion or proceeding to enforce the

terms of this Settlement Agreement.

       (c)       The Parties agree that communications between them during the negotiations of

this Agreement are confidential and not to be disclosed publicly or to the Court without Court order

or permission from the other side.

       (d)       The Parties and their respective counsel agree not to retaliate in any way against

each other as a result of this Settlement, including but not limited to the termination of any services

nor public disparagement of them. This agreement not to retaliate does not limit the Defendant’s

right to terminate any accounts of Facebook Users that violate the Defendant’s applicable policies

or terms of service.

       (e)       The Parties and their respective counsel may file this Settlement Agreement and/or

the Final Approval Order in any action that may be brought against them to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, release, statute of limitations,

statute of repose, good-faith settlement, judgment bar or reduction, or any theory of claim

preclusion or issue preclusion or similar defense or counterclaim, or to effectuate any liability

protection granted them under any applicable insurance policy. The Parties may file this Settlement

Agreement and/or the Final Approval Order in any action that may be brought to enforce the terms

of this Settlement Agreement and/or the Final Approval Order. All Parties submit to the jurisdiction

of the Court for purposes of implementing and enforcing the Settlement.

       (f)       The Parties agree that each, and their respective counsel, has complied fully with

the strictures of Rule 11 of the Federal Rules of Civil Procedure.

       15.9    Execution in Counterparts: This Agreement may be executed in one or more

counterparts, including signature transmitted by facsimile or in PDF format. Each Party agrees to




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preserve the original of any signature page transmitted electronically at least until entry of the Final

Approval Order. Each counterpart when so executed shall be deemed to be an original, and all such

counterparts together shall constitute the same instrument.

       15.10 Binding on Successors and Assigns: This Agreement shall be binding upon, and

inure to the benefit of, the Parties hereto and their successors and assigns.

       15.11 All Changes in Writing: This Agreement may not be modified or amended, nor may

any of its provisions be waived, except by a writing signed by parties or their successors or assigns.

       15.12 Authority: All counsel executing this Agreement or any of the Exhibits hereto, or any

incorporated Settlement documents, warrant and represent that they have the full authority to do so

and that they have the authority to take appropriate action required or permitted to be taken pursuant

to the Agreement to effectuate its terms.




                               [SIGNATURE PAGES TO FOLLOW]




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Dated: February 14, 2022            COOLEY LLP


                                      Michael G. Rhodes

                                    Attorneys for Defendant Meta Platforms, Inc.,
                                    formerly Facebook, Inc.



Dated: February 14, 2022           DICELLO LEVITT GUTZLER LLC


                                      David A. Straite (admitted pro hac vice)

                                    Interim Co-Lead Counsel for Plaintiffs



Dated: February 14, 2022            GRYGIEL LAW LLC


                                      Stephen G. Grygiel (admitted pro hac vice)

                                    Interim Co-Lead Counsel for Plaintiffs


Dated: February 14, 2022            SIMMONS HANLY CONROY LLC


                                      Jason “Jay” Barnes (admitted pro hac vice)

                                    Interim Chair of Plaintiffs’ Executive Committee


Dated: February 14, 2022            PERRIN DAVIS


                                      Perrin Davis

                                    Named Plaintiff in the MDL Action




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Dated: February 14, 2022           DR. BRIAN K. LENTZ


                                      Dr. Brian K. Lentz

                                    Named Plaintiff in the MDL Action



Dated: February 14, 2022            MICHAEL VICKERY


                                      Michael Vickery

                                    Named Plaintiff in the MDL Action


Dated: February 14, 2022            CYNTHIA QUINN


                                      Cynthia Quinn

                                    Named Plaintiff in the MDL Action


Dated: February 14, 2021            RYAN UNG


                                      Ryan Ung

                                    Named Plaintiff in the State Court Action


Dated: February 14, 2021           CHI CHENG


                                      Chi Cheng

                                    Named Plaintiff in the State Court Action


Dated: February 14, 2021            ALICE ROSEN


                                      Alice Rosen

                                    Named Plaintiff in the State Court Action




                                      45
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           Dated: February 14, 2022                          DR. BRIAN K. LENTZ


                                                               Dr. Brian K. Lentz

                                                             Named Plaintiff in the MDL Action



           Dated: February 14, 2022                          MICHAEL VICKERY


                                                               Michael Vickery

                                                             Named Plaintiff in the MDL Action


           Dated: February 14, 2022                          CYNTHIA QUINN


                                                               Cynthia Quinn

                                                             Named Plaintiff in the MDL Action


           Dated: February 14, 2021                          RYAN UNG


                                                               Ryan Ung

                                                             Named Plaintiff in the State Court Action


           Dated: February 14, 2021                          CHI CHENG


                                                               Chi E.
                                                              Kim  Cheng
                                                                      Richman, on behalf of Chi Cheng
                                                             Named Plaintiff in the State Court Action


           Dated: February 14, 2021                          ALICE ROSEN


                                                               Alice Rosen

                                                             Named Plaintiff in the State Court Action




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             Exhibit 1A
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                   IN RE FACEBOOK INTERNET TRACKING LITIGATION
                         Case No. 12-md-02314-EJD (N.D. Cal.)

                                       List of Related Cases


                      THE CONSOLIDATED CLASS ACTIONS
                                                                       N.D. Cal. Case
                                          Original Court and Case
              Caption                                                  Number (post-
                                                  Number
                                                                          transfer)
Parrish v. Facebook Inc.                  ALN/2:11-cv-03576         5:12-cv-00667-EJD
Campbell v. Facebook, Inc. et al          ARW/5:11-cv-05266         5:12-cv-00796-EJD
Beatty v. Facebook Incorporated et        AZ/2:11-cv-01964          5:12-cv-00668-EJD
al.
Joon Khang v. Facebook Inc.               CAC/8:12-cv-00161         5:12-cv-00825-EJD
Carroll v. Facebook, Inc.                 CAN/3:12-cv-00370         5:12-cv-00370-EJD
Davis et al v. Facebook, Inc.             CAN/5:11-cv-04834         5:11-cv-04834-EJD
Brkic v. Facebook, Inc.                   CAN/5:11-cv-04935         5:11-cv-04935-EJD
Quinn v. Facebook, Inc. et al.            HI/1:11-cv-00623          5:12-cv-00797-EJD
Howard v. Facebook, Inc. et al.           ILS/3:11-cv-00895         5:12-cv-00671-EJD
Graham v. Facebook, Inc. et al.           KS/2:11-cv-02556          5:12-cv-00673-EJD
Hoffman v. Facebook, Inc. et al.          KYW/5:11-cv-00166         5:12-cv-00674-EJD
Seamon v. Facebook, Inc.                  LAM/3:11-cv-00689         5:12-cv-00675-EJD
Thompson v. Facebook, Inc.                MOW/2:11-cv-04256         5:12-cv-00676-EJD
Rutledge v. Facebook, Inc.                MSN/3:11-cv-00133         5:12-cv-00669-EJD
Walker v. Facebook, Inc.                  MT/1:11-cv-00118          5:12-cv-00798-EJD
Maloney v. Facebook, Inc. et al.          OHS/2:12-cv-00078         5:12-cv-00824-EJD
Burdick et al v. Facebook Inc et al.      OKW/5:11-cv-01214         5:12-cv-00799-EJD
Stravato v. Facebook, Inc.                RI/1:11-cv-00624          5:12-cv-00800-EJD
Maguire, et al. v. Facebook, Inc.         CAN/5:12-cv-0807          5:12-cv-00807-EJD
Vickery v. Facebook, Inc.                 WAW/2:11-cv-01901         5:12-cv-00801-EJD
Singley v. Facebook, Inc.                 TXW/1:11-cv-00874         5:12-cv-00670-EJD
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                 THE PRO SE ACTIONS (NOT CONSOLIDATED)
                Caption                     N.D. Cal. Case Number
Knox v. Facebook, Inc.             5:11-cv-05699-EJD (pro se)
Gayfield v. Facebook, Inc.         5:11-cv-05700-EJD (pro se)
Guyton v. Facebook, Inc.           5:11-cv-05701-EJD (pro se)
Wood v. Facebook, Inc.             5:11-cv-05763-EJD (pro se)
Valentine v. Facebook, Inc.        5:11-cv-05764-EJD (pro se)
McClinton v. Facebook, Inc.        5:11-cv-06367-EJD (pro se)
Thomas v. Facebook, Inc.           5:11-cv-06607-EJD (pro se)
Sanders v. Facebook, Inc.          5:11-cv-06645-EJD (pro se)
Skiles v. Facebook, Inc.           5:12-cv-00468-EJD (pro se)
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                        THE STATE COURT ACTION

           Caption                  Case Number              Court
Ung v. Facebook, Inc.        112-cv-217244           California Superior
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             Exhibit 1B
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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                                          SAN JOSE DIVISION



 IN RE FACEBOOK INTERNET                             Case No. 5:12-MD-2314-EJD
 TRACKING LITIGATION
                                                       DECLARATION OF STEVEN
                                                   WEISBROT OF ANGEION GROUP, LLC
                                                      RE: PROPOSED NOTICE PLAN




       I, Steven Weisbrot, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the following is true and correct:

       1.      I am the President and Chief Executive Officer at the class action notice and claims

administration firm Angeion Group, LLC (“Angeion”). Angeion specializes in designing,

developing, analyzing and implementing large-scale, unbiased, legal notification plans.

       2.      I have personal knowledge of the matters stated herein. In forming my opinions

regarding notice in this action, I have drawn from my extensive class action experience, as

described below.

       3.      I have been responsible in whole or in part for the design and implementation of

hundreds of court-approved notice and administration programs, including some of the largest and

most complex notice plans in recent history. I have taught numerous accredited Continuing Legal

Education courses on the Ethics of Legal Notification in Class Action Settlements, using Digital
Media in Due Process Notice Programs, as well as Claims Administration, generally. I am the
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author of multiple articles on Class Action Notice, Claims Administration, and Notice Design in

publications such as Bloomberg, BNA Class Action Litigation Report, Law360, the ABA Class

Action and Derivative Section Newsletter, and I am a frequent speaker on notice issues at

conferences throughout the United States and internationally.

       4.       I was certified as a professional in digital media sales by the Interactive Advertising

Bureau (“IAB”) and I am co-author of the Digital Media section of Duke Law’s Guidelines and

Best Practices—Implementing 2018 Amendments to Rule 23 and the soon to be published George

Washington Law School Best Practices Guide to Class Action Litigation.

       5.       I have given public comment and written guidance to the Judicial Conference

Committee on Rules of Practice and Procedure on the role of direct mail, email, broadcast media,

digital media and print publication, in effecting Due Process notice, and I have met with

representatives of the Federal Judicial Center to discuss the 2018 amendments to Rule 23 and

offered an educational curriculum for the judiciary concerning notice procedures.

       6.       Prior to joining Angeion’s executive team, I was employed as Director of Class

Action services at Kurtzman Carson Consultants, an experienced notice and settlement

administrator. Prior to my notice and claims administration experience, I was employed in private

law practice.

       7.       My notice work comprises a wide range of class actions that include data breach,
mass disasters, product defect, false advertising, employment discrimination, antitrust, tobacco,

banking, firearm, insurance, and bankruptcy cases.

       8.       I have been at the forefront of infusing digital media, as well as big data and

advanced targeting, into class action notice programs. Courts have repeatedly recognized my work

in the design of class action notice programs. A comprehensive summary of judicial recognition

Angeion has received is attached hereto as Exhibit A.

       9.       By way of background, Angeion is an experienced class action notice and claims

administration company formed by a team of executives that have had extensive tenures at five
other nationally recognized claims administration companies. Collectively, the management team
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at Angeion has overseen more than 2,000 class action settlements and distributed over $15 billion

to Settlement Class Members. The executive profiles as well as the company overview are

available at https://www.angeiongroup.com/our_team.php.

       10.     As a class action administrator, Angeion has regularly been approved by both

federal and state courts throughout the United States and abroad to provide notice of class actions

and claims processing services.

       11.     This declaration will describe the Notice Plan for the Settlement Class that, if

approved by the Court, Angeion will implement in this matter, including the considerations that

informed the development of the plan and why I believe it will provide due process to Settlement

Class Members. In my professional opinion and that of my team, the Notice Program described

herein is the best practicable notice under the circumstances and fulfills all due process

requirements, fully comporting with Fed. R. Civ. P. 23.

                           OVERVIEW OF THE NOTICE PLAN

       12.     The proposed Notice Plan provides for individual direct notice via email to all

reasonably identifiable Settlement Class Members, combined with a robust media campaign

consisting of state-of-the-art targeted internet notice, social media notice, and a paid search

campaign. The Notice Plan also provides for the implementation of a dedicated Settlement

Website and a toll-free telephone line where Settlement Class Members can learn more about
their rights and options pursuant to the terms of the Settlement and a customized claim stimulation

package (the “Claim Stimulation Package”) to further diffuse news of the Settlement.

       13.     As discussed in greater detail below, the media campaign component of the Notice

Plan is designed to deliver an approximate 70.24% reach with an average frequency of 2.12 times.

This number is calculated using objective syndicated advertising data relied upon by most

advertising agencies and brand advertisers. It is further verified by sophisticated media software

and calculation engines that cross reference which media is being purchased with the media habits

of our specific Target Audience. What this means in practice is that 70.24% of our Target
Audience will see a digital advertisement concerning the Settlement an average of 2.12 times
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each. The 70.24% reach approximation is for the media campaign component of the Notice Plan

only, and does not include other components of the Notice Plan, including the direct notice efforts,

dedicated Settlement Website, toll-free telephone line, and the Claim Stimulation Package, all of

which are difficult to measure in terms of reach percentage but will nonetheless provide awareness

and further diffuse news of the Settlement to Settlement Class Members.

       14.     Additionally, Angeion will be able to garner results of the direct notice efforts and

provide the Court with the overall reach percentage for the combined direct and media notice

components of this Notice Plan, which is likely to greatly exceed the 70.24% reach approximation

for just the media notice component of the Notice Plan. Angeion will also be able to provide the

Court with data relating to the efficacy of the other components of the Notice Plan, e.g., the

number of visits to the dedicated Settlement Website.

       15.     The Federal Judicial Center states that a publication notice plan that reaches 70%

of class members is one that reaches a “high percentage” and is within the “norm.” Barbara J.

Rothstein & Thomas E. Willging, Federal Judicial Center, “Managing Class Action Litigation: A

Pocket Guide or Judges”, at 27 (3d Ed. 2010).

                                        DIRECT NOTICE

       16.     Angeion has been informed that it will receive from Defendant email addresses for

approximately 124,000,000 Settlement Class Members. Angeion will cause Email Notice to be
sent to all valid Settlement Class Member email addresses provided to Angeion.

       17.     As an initial matter, Angeion designs the email notice to avoid many common “red

flags” that might otherwise cause a potential Settlement Class Members’ spam filter to block or

identify the email notice as spam. For instance, Angeion does not include attachments to the email

notice because attachments are often interpreted by various Internet Service Providers (“ISP”) as

spam. Rather, in accordance with industry best practices, Angeion includes a link to all operative

documents so that Settlement Class Members can easily access this information.

       18.     Angeion will employ additional methods to help ensure that as many Settlement
Class Members as possible receive notice via email. Specifically, prior to distributing email notice,
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Angeion will engage in an email updating process to help ensure the accuracy of recipient email

addresses. This email cleansing process removes extra spaces, fixes common typographical errors

in domain names, and corrects insufficient domain suffixes (e.g., gmal.com to gmail.com, gmail.co

to gmail.com, yaho.com to yahoo.com, etc.). After the cleansing process, those email addresses

will then be subjected to an email validation process whereby each email address is compared to

known bad email addresses.1 Additionally, the email addresses are further verified by contacting

the ISP to determine if the email addresses exist.

        19.      Angeion also accounts for the real-world reality that some emails will inevitably

fail to be delivered during the initial delivery attempt. Therefore, after the initial Email Notice

campaign is complete, and following an approximately 24-72-hour rest period that allows any

temporary block at the ISP level to expire, Angeion causes a second round of Email Notice to any

email addresses that were previously identified as soft bounces2 and not delivered. In our

experience, this process minimizes emails that may have erroneously failed to deliver due to

sensitive servers and optimizes delivery.

        20.      Angeion will also cause a reverse look-up (“append”) to be performed to locate

updated email addresses for Subscriber Class Members whose Email Notice could not be

delivered. Specifically, Angeion utilizes a network of data partners3 to aggregate a combination of

first- and third-party consumer data to source, update, and verify email addresses. The append
matches email addresses to the data points provided (in this case, names and email addresses) as a

validity check. The email addresses obtained via the append search will be used to effectuate a

second attempt to provide Email Notice to Subscriber Class Members whose email addresses were

previously identified as soft bounces.




1
  Angeion maintains a database of email addresses that were returned as permanently undeliverable, commonly
referred to as a “hard bounce,” from prior email notice campaigns. Where an address has been returned as a hard
bounce within the last year, that email is designated as a “known bad email address.”
2
  A soft bounce typically indicates a temporary delivery issue, while a hard bounce typically indicates a permanent
reason an email cannot be delivered.
3
  Our data partners typically include Experian, Dun & Bradstreet, LexisNexis, and IDI.
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         21.      At the completion of the Email Notice campaign, Angeion will report to the Court

concerning the rate of delivered emails and will also account for any emails that are blocked at the

ISP level, such as hard bounces. In short, the Court will possess a detailed, verified account of the

success rate of the entire direct notice campaign.

                                                MEDIA NOTICE

Programmatic Display Advertising

         22.      Angeion will utilize a form of internet advertising known as Programmatic Display

Advertising, which is the leading method of buying digital advertisements in the United States to

provide notice of the Settlement to Settlement Class Members.4 The media notice outlined below

is strategically designed to provide notice of the Settlement to Settlement Class Members by

driving them to the dedicated Settlement Website where they can learn more about the Settlement,

including their rights and options.

         23.      To develop the media notice campaign and to verify its effectiveness, our media

team analyzed data from 2021 comScore Multi-Platform//GfK MRI Media + Fusion5 (the

“Objective Syndicated Data”) to profile the Settlement Class and arrive at an appropriate Target

Audience based on criteria pertinent to this Settlement. Specifically, the following syndicated

research definition was used to profile potential Settlement Class Members: “Adults 18+”.

         24.      This broad Target Audience definition allows us to target both current and former


4
  Programmatic Display Advertising is a trusted method specifically utilized to reach defined target audiences. It has
been reported that U.S. advertisers spent nearly $65.74 billion on programmatic display advertising in 2020, and it is
estimated that almost 86.5%, or $81.58 billion, of all U.S. digital display ad dollars will transact programmatically in
2021. See https://www.emarketer.com/content/us-programmatic-digital-display-advertising-outlook-2021. In
laypeople’s terms, programmatic display advertising is a method of advertising where an algorithm identifies and
examines demographic profiles and uses advanced technology to place advertisements on the websites where members
of the audience are most likely to visit (these websites are accessible on computers, mobile phones and tablets
5
  GfK MediaMark Research and Intelligence LLC (“GfK MRI”) provides demographic, brand preference and media-
use habits, and captures in-depth information on consumer media choices, attitudes, and consumption of products and
services in nearly 600 categories. comSCORE, Inc. (“comSCORE”) is a leading cross-platform measurement and
analytics company that precisely measures audiences, brands, and consumer behavior, capturing 1.9 trillion global
interactions monthly. comSCORE’s proprietary digital audience measurement methodology allows marketers to
calculate audience reach in a manner not affected by variables such as cookie deletion and cookie blocking/rejection,
allowing these audiences to be reach more effectively. comSCORE operates in more than 75 countries, including the
United States, serving over 3,200 clients worldwide.
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Facebook users. The syndicated research shows that 84% of adults 18 years and older use

Facebook or have an account6. The Target Audience definition would include not only the

significant majority of adults who use or have a Facebook account, but also the adults who may

have deleted their Facebook accounts.

        25.      Based on the Target Audience definition used, the size of the Target Audience for

the media notice campaign is approximately 252.8 million individuals in the United States. It is

important to note that the Target Audience is distinct from the class definition, as is commonplace

in class action notice plans. Utilizing an overinclusive proxy audience maximizes the efficacy of

the Notice Plan and is considered a best practice among media planners and class action notice

experts alike. Using proxy audiences is also commonplace in both class action litigation and

advertising generally7.

        26.      Additionally, the Target Audience is based on Objective Syndicated Data , which

is routinely used by advertising agencies and experts to understand the demographics, shopping

habits and attitudes of the consumers that they are seeking to reach 8. Using this form of objective

data will allow the parties to report the reach and frequency to the Court with confidence that the

reach percentage and the number of exposure opportunities comply with due process and exceed

the Federal Judicial Center’s threshold as to reasonableness in notification programs. Virtually all

professional advertising agencies and commercial media departments use Objective Syndicated
Data tools, like the ones described above, to quantify net reach. Sources like these guarantee that

advertising placements can be measured against an objective basis and confirm that the reporting

statistics are not overstated. Objective Syndicated Data tools are ubiquitous tools in a media


6
  Source: 2021 comScore Multi-Platform//GfK MRI Media + Fusion
7
  If the total population base (or number of class members) is unknown, it is accepted advertising and communication
practice to use a proxy-media definition, which is based on accepted media research tools and methods that will allow
the notice expert to establish that number. The percentage of the population reached by supporting media can then be
established. Duke Law School, GUIDELINES AND BEST PRACTICES IMPLEMENTING 2018 AMENDMENTS
TO RULE 23 CLASS ACTION SETTLEMENT PROVISIONS, at 56.
8
  The notice plan should include an analysis of the makeup of the class. The target audience should be defined and
quantified. This can be established through using a known group of customers, or it can be based on a proxy-media
definition. Both methods have been accepted by the courts and, more generally, by the advertising industry, to
determine a population base. Id at 56.
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planner’s arsenal and are regularly accepted by courts in evaluating the efficacy of a media plan

or its component parts. Understanding the socioeconomic characteristics, interests and practices

of a target group aids in the proper selection of media to reach that target. Here, the Target

Audience has been reported to have the following characteristics:

   •    50.51% are ages 25-54, with a median age of 47.5 years old

   •    51.70% are female

   •    52.93% are now married

   •    35.62% have children

   •    33.77% have received a bachelor’s or post-graduate degree

   •    45.54% are currently employed full time

   •    The average household income is $78,400

   •    84% have used Facebook in the last 30 days

        27.    To identify the best vehicles to deliver messaging to the Target Audience, the media

quintiles, which measure the degree to which an audience uses media relative to the general

population, were reviewed. Here, the Objective Syndicated Data shows that members of the Target

Audience spend an average of approximately 29.5 hours per month on the internet.

        28.    Given the strength of digital advertising, as well as our Target Audience’s

consistent internet use, we recommend utilizing a robust internet advertising campaign to reach
Settlement Class Members. This media schedule will allow us to deliver an effective reach level

and frequency, which will provide due and proper notice to the Settlement Class.

        29.    Multiple targeting layers will be implemented into the programmatic campaign to

help ensure delivery to the most appropriate users, inclusive of the following tactics:

   •    Look-a-like Modeling: This technique utilizes data methods to build a look-a-like audience

        against known Settlement Class Members.

   •    Predictive Targeting: This technique allows technology to “predict” which users will be

        served by the advertisements about the Settlement.
   •    Audience Targeting: This technique utilizes technology and data to serve the impressions
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        to the intended audience based on demographics, purchase behaviors and interests.

   •    Site Retargeting: This technique is a targeting method used to reach potential Settlement

        Class Members who have already visited the dedicated Settlement Website while they

        browsed other pages. This allows Angeion to provide a potential Settlement Class Member

        sufficient exposure to an advertisement about the Settlement.

   •    Geotargeting: The campaign will be targeted nationwide. If sufficient data is available, the

        campaign will leverage a weighted delivery based on the geographic spread of the Target

        Audience throughout the country.

        30.    To combat the possibility of non-human viewership of the digital advertisements

and to verify effective unique placements, Angeion employs Oracle’s BlueKai, Adobe’s Audience

Manger and/or Lotame, which are demand management platforms (“DMP”). DMPs allow Angeion

to learn more about the online audiences that are being reached. Further, online ad verification and

security providers such as Comscore Content Activation, DoubleVerify, Grapeshot, Peer39 and

Moat will be deployed to provide a higher quality of service to ad performance.

        Social Media

        31.    The Notice Plan also includes a social media campaign utilizing Twitter, TikTok

and Reddit. The social media campaign uses an interest-based approach which focuses on the

interests that users exhibit while on these social media platforms.
        32.    The social media campaign will engage with the Target Audience desktop sites,

mobile sites and mobile apps. Additionally, specific tactics will be implemented to further qualify

and deliver impressions to the Target Audience. Look-a-like modeling allows the use of consumer

characteristics to serve ads. Based on these characteristics, we can build different consumer profile

segments to ensure the Notice Plan messaging is delivered to the proper audience. Conquesting

allows ads to be served in relevant placements to further alert potential Settlement Class Members.

The social media ads will further be geo-targeted with a weighted delivery to account for the

geographics of the Target Audience if this information is available.
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       33.     The social media campaign will coincide with the programmatic display advertising

portion of the Notice Plan. Combined, the media notice efforts are designed to deliver

approximately 376 million impressions.



Paid Search Campaign

       34.     The Notice Plan also includes a paid search campaign on Google to help drive

Settlement Class Members who are actively searching for information about the Settlement to the

dedicated Settlement Website. Paid search ads will complement the programmatic and social

media campaigns, as search engines are frequently used to locate a specific website, rather than a

person typing in the URL. Search terms would relate to not only the Settlement itself but also the

subject matter of the litigation. In other words, the paid search ads are driven by the individual

user’s search activity, such that if that individual searches for (or has recently searched for) the

Settlement, litigation or other terms related to the Settlement, that individual could be served with

an advertisement directing them to the Settlement Website.

                             CLAIMS STIMULATION PACKAGE

       35.     In addition to the above-described notice efforts, Angeion will implement a

customized and strategic Claims Stimulation Package consisting of sponsored listings on two

leading class action settlement websites and active listening on Twitter, as described below.
Importantly, the other components of the Notice Plan described above are designed to provide

Settlement Class Members the relevant information about this litigation and give them the

opportunity to determine whether they wish to opt out, object, or file a claim in this Settlement;

whereas the Claims Stimulation Package is designed specifically to increase the number of claims

filed, and employs best practices, including by disseminating a direct link to the claim-submission

page of the Settlement Website and using simplified language and earned media (i.e., mainstream

and social media attention) this proposed Settlement may receive.

       36.     The Claims Stimulation noticing will use simplified messaging specifically
designed to drive Settlement Class Members to the Settlement Website and ultimately submit a
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claim. The timing of the additional noticing is intended to capitalize on the earned media this

proposed Settlement is likely to receive given the popularity of Defendant’s Facebook platform.

Sponsored Class Action Website Listings

       37.     Angeion will cause the Settlement to be listed and promoted through two leading

class action settlement websites: www.topclassactions.com and www.classaction.org. These sites

are known to create awareness of pending settlements among consumers and, while not measured

in terms of the reported reach percentage, will be instrumental in seeding and disbursing news of

the underlying Settlement. Top Class Actions averages 3 million monthly visitors, has

approximately 900,000 newsletter subscribers and 145,000 Facebook followers. ClassAction.org

averages 100,000 page-views per month and has approximately 130,000 newsletter subscribers.

Representative samples of listings on Top Class Actions and ClassAction.org can be viewed on

their respective websites.

       38.     The promotion on these websites is not capable of precise reach calculations and

are thus not included in the reach and frequency figures presented to the Court. Nonetheless, this

mechanism will serve an important function in that it will help stimulate interest in the Settlement

and drive Settlement Class Members to the dedicated Settlement Website to read and understand

their rights and options under the Settlement.

       Social Media
       39.     Angeion will also cause the Settlement to be promoted on Twitter.               Our

methodology includes an “active listening” component wherein we monitor Twitter traffic for

discussion of the Settlement, and actively provide notice and/or answers to frequently asked

question via Twitter as appropriate. This active listening component is separate and distinct from

the social media campaign component of the Media Notice efforts.

       SETTLEMENT WEBSITE & TOLL-FREE TELEPHONE LINE SUPPORT

       40.     The Notice Plan will also implement the creation of a case-specific Settlement

Website, where Settlement Class Members can easily view general information about this
Settlement, review relevant Court documents, and view important dates and deadlines pertinent to
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the Settlement. The Settlement Website will be designed to be user-friendly and make it easy for

Settlement Class Members to find information about this case. The Settlement Website will also

have a “Contact Us” page whereby Settlement Class Members can send an email with any

additional questions to a dedicated email address. Likewise, Settlement Class Members will also

be able to submit a claim form online via the Settlement Website. The long-form notice posted on

the website will be available in English and Spanish.

       41.     A toll-free hotline devoted to this case will be implemented to further apprise

Settlement Class Members of their rights and options pursuant to the terms of the Settlement. The

toll-free hotline will utilize an interactive voice response (“IVR”) system to provide Settlement

Class Members with responses to frequently asked questions and provide essential information

regarding the Settlement. This hotline will be accessible 24 hours a day, 7 days a week in English

and Spanish. Additionally, Settlement Class Members will be able to request a copy of the Long-

Form Notice or Claim Form via the toll-free hotline.

       42.     Following the implementation of the Notice Plan, Angeion will be able to garner

and provide the Court with data relating to the efficacy of the Settlement Website and the toll-free

hotline. For example, Angeion will be able to determine the number of visits that were made to

the Settlement Website or the number of IVR minutes that were used through the toll-free hotline.

                                 REACH AND FREQUENCY
       43.     This declaration describes the reach and frequency evidence which courts

systemically rely upon in reviewing class action publication notice programs for adequacy. The

reach percentage exceeds the guidelines as set forth in the Federal Judicial Center’s Judges’ Class

Action Notice and Claims Process Checklist and Plain Language Guide to effectuate a notice

program which reaches a high degree of Settlement Class Members.

       44.     Specifically, the media campaign portions of the Notice Plan are designed to deliver

an approximate 70.24% reach with an average frequency of 2.12 times each. It should be noted

that the 70.24% reach approximation does not include the direct notice efforts, impressions
garnered through the Claim Stimulation Package, the dedicated Settlement Website or the toll-free
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hotline, because the impacts of these components are not currently able to be estimated and thus

cannot be included in the reach percentage. Following the implementation of the Notice Plan,

Angeion will be able to garner results of both the direct notice efforts and the media campaign,

and provide the Court with the overall reach percentage for the combined notice components,

which is likely to greatly exceed the 70.24% reach approximation for the media campaign portion.

       NOTICE PURSUANT TO THE CLASS ACTION FAIRNESS ACT OF 2005

       45.     Within ten days of the filing of the Class Action Settlement Agreement and Release

with this Court, Angeion will cause notice to be disseminated to the appropriate state and federal

officials pursuant to the requirements of the Class Action Fairness Act, 28 U.S.C. §1715.

                           PLAIN LANGUAGE NOTICE DESIGN

       46.     The proposed Notice forms used in this matter are designed to be “noticed,”

reviewed, and by presenting the information in plain language, understood by members of the

Settlement Class. The design of the notices follows the principles embodied in the Federal Judicial

Center’s illustrative “model” notices posted at www.fjc.gov. The notice forms contain plain-

language summaries of key information about the rights and options of members of the Settlement

Class pursuant to the Settlement. Consistent with normal practice, prior to being delivered and

published, all notice documents will undergo a final edit for accuracy.

       47.     Rule 23(c)(2) of the Federal Rules of Civil Procedure requires class action notices
to be written in “plain, easily understood language.”       Angeion Group maintains a strong

commitment to adhering to this requirement, drawing on its experience and expertise to craft

notices that effectively convey the necessary information to Settlement Class Members in plain

language.

                                        CONCLUSION

       48.     The Notice Plan outlined above includes direct notice to all reasonably identifiable

Settlement Class Members, bolstered by a robust media campaign consisting of state-of-the-art

internet advertising, a comprehensive social media campaign and a paid search campaign. The
Notice Plan also provides for a carefully tailored claims stimulation package to further diffuse
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notice of the Settlement and remind Settlement Class Members of their ability to submit claims

during the claim filing period and includes the implementation of a dedicated Settlement Website

and toll-free hotline to further inform Settlement Class Members of their rights and options in the

Settlement.

       49.     In my professional opinion and that of my team, the Notice Plan described herein

will provide full and proper notice to Settlement Class Members before the claims, opt-out, and

objection deadlines. Moreover, it is my opinion that the Notice Plan is the best notice that is

practicable under the circumstances and fully comports with due process and Fed. R. Civ. P. 23.

After the Notice Plan has been executed, Angeion will provide a final report verifying its effective

implementation to this Court.

       I hereby declare under penalty of perjury that the foregoing is true and correct.


Dated: February 11, 2021

                                                             ____________________
                                                             STEVEN WEISBROT
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                  Exhibit A
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        Judicial Recognition



                                                       © Angeion Group, LLC
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IN RE: APPLE INC. DEVICE PERFORMANCE LITIGATION
Case No. 5:18-md-02827
The Honorable Edward J. Davila, United States District Court, Northern District of California
(March 17, 2021): Angeion undertook a comprehensive notice campaign…The notice
program was well executed, far-reaching, and exceeded both Federal Rule of Civil Procedure
23(c)(2)(B)’s requirement to provide the “best notice that is practicable under the
circumstances” and Rule 23(e)(1)(B)’s requirement to provide “direct notice in a reasonable
manner.”

IN RE: TIKTOK, INC., CONSUMER PRIVACY LITIGATION
Case No. 1:20-cv-04699
The Honorable John Z. Lee, United States District Court, Northern District of Illinois (October
1, 2021): The Court approves, as to form and content, the proposed Class Notices submitted
to the Court. The Court finds that the Settlement Class Notice Program outlined in the
Declaration of Steven Weisbrot on Settlement Notices and Notice Plan (i) is the best
practicable notice; (ii) is reasonably calculated, under the circumstances, to apprise the
Settlement Class of the pendency of the Action and of their right to object to or to exclude
themselves from the proposed settlement; (iii) is reasonable and constitutes due, adequate
and sufficient notice to all persons entitled to receive notice; and (iv) meets all requirements
of applicable law, Federal Rule of Civil Procedure 23, and due process.

IN RE: GOOGLE PLUS PROFILE LITIGATION
Case No. 5:18-cv-06164
The Honorable Edward J. Davila, United States District Court, Northern District of California
(January 25, 2021): The Court further finds that the program for disseminating notice to
Settlement Class Members provided for in the Settlement, and previously approved and
directed by the Court (hereinafter, the “Notice Program”), has been implemented by the
Settlement Administrator and the Parties, and such Notice Program, including the approved
forms of notice, is reasonable and appropriate and satisfies all applicable due process and
other requirements, and constitutes best notice reasonably calculated under the
circumstances to apprise Settlement Class Members…

CAMERON v. APPLE INC.
Case No. 4:19-cv-03074
The Honorable Yvonne Gonzalez Rogers, United States District Court, Northern District of
California (November 16, 2021): The parties’ proposed notice plan appears to be
constitutionally sound in that plaintiffs have made a sufficient showing that it is: (i) the best
notice practicable; (ii) reasonably calculated, under the circumstances, to apprise the Class
members of the proposed settlement and of their right to object or to exclude themselves
as provided in the settlement agreement; (iii) reasonable and constitute due, adequate, and
sufficient notice to all persons entitled to receive notice; and (iv) meet all applicable
requirements of due process and any other applicable requirements under federal law.
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RISTO v. SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND RADIO ARTISTS
Case No. 2:18-cv-07241
The Honorable Christina A. Snyder, United States District Court, Central District of California
(November 12, 2021): The Court approves the publication notice plan presented to this Court
as it will provide notice to potential class members through a combination of traditional and
digital media that will consist of publication of notice via press release, programmatic display
digital advertising, and targeted social media, all of which will direct Class Members to the
Settlement website…The notice plan satisfies any due process concerns as this Court
certified the class under Federal Rule of Civil Procedure 23(b)(1)…

JENKINS v. NATIONAL GRID USA SERVICE COMPANY, INC.
Case No. 2:15-cv-01219
The Honorable Joanna Seybert, United States District Court, Eastern District of New York
(November 8, 2021): Pursuant to Fed. R. Civ. P. 23(e)(1) and 23(c)(2)(B), the Court approves
the proposed Notice Plan and procedures set forth at Section 8 of the Settlement, including
the form and content of the proposed forms of notice to the Settlement Class attached as
Exhibits C-G to the Settlement and the proposed procedures for Settlement Class Members
to exclude themselves from the Settlement Class or object. The Court finds that the proposed
Notice Plan meets the requirements of due process under the United States Constitution
and Rule 23, and that such Notice Plan—which includes direct notice to Settlement Class
Members sent via first class U.S. Mail and email; the establishment of a Settlement Website
(at the URL, www.nationalgridtcpasettlement.com) where Settlement Class Members can
view the full settlement agreement, the detailed long-form notice (in English and Spanish),
and other key case documents; publication notice in forms attached as Exhibits E and F to
the Settlement sent via social media (Facebook and Instagram) and streaming radio (e.g.,
Pandora and iHeart Radio). The Notice Plan shall also include a paid search campaign on
search engine(s) chosen by Angeion (e.g., Google) in the form attached as Exhibits G and the
establishment of a toll-free telephone number where Settlement Class Members can get
additional information—is the best notice practicable under the circumstances and shall
constitute due and sufficient notice to all persons entitled thereto.

NELLIS v. VIVID SEATS, LLC
Case No. 1:20-cv-02486
The Honorable Robert M. Dow, Jr., United States District Court, Northern District of Illinois
(November 1, 2021): The Notice Program, together with all included and ancillary documents
thereto, (a) constituted reasonable notice; (b) constituted notice that was reasonably
calculated under the circumstances to apprise members of the Settlement Class of the
pendency of the Litigation…(c) constituted reasonable, due, adequate and sufficient notice
to all Persons entitled to receive notice; and (d) met all applicable requirements of due
process and any other applicable law. The Court finds that Settlement Class Members have
been provided the best notice practicable of the Settlement and that such notice fully
satisfies all requirements of law as well as all requirements of due process.
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BIEGEL v. BLUE DIAMOND GROWERS
Case No. 7:20-cv-03032
The Honorable Cathy Seibel, United States District Court, Southern District of New York
(October 25, 2021): The Court finds that the Notice Plan, set forth in the Settlement
Agreement and effectuated pursuant to the Preliminary Approval Order: (i) was the best
notice practicable under the circumstances; (ii) was reasonably calculated to provide, and did
provide, due and sufficient notice to the Settlement Class regarding the existence and nature
of the Action…and (iii) satisfied the requirements of the Federal Rules of Civil Procedure, the
United States Constitution, and all other applicable law.

QUINTERO v. SAN DIEGO ASSOCIATION OF GOVERNMENTS
Case No. 37-2019-00017834-CU-NP-CTL
The Honorable Eddie C. Sturgeon, Superior Court of the State of California, County of San
Diego (September 27, 2021): The Court has reviewed the class notices for the Settlement
Class and the methods for providing notice and has determined that the parties will employ
forms and methods of notice that constitute the best notice practicable under the
circumstances; are reasonably calculated to apprise class members of the terms of the
Settlement and of their right to participate in it, object, or opt-out; are reasonable and
constitute due, adequate, and sufficient notice to all persons entitled to receive notice; and
meet all constitutional and statutory requirements, including all due process requirements
and the California Rules of Court.

HOLVE v. MCCORMICK & COMPANY, INC.
Case No. 6:16-cv-06702
The Honorable Mark W. Pedersen, United States District Court for the Western District of
New York (September 23, 2021): The Court finds that the form, content and method of giving
notice to the Class as described in the Settlement Agreement and the Declaration of the
Settlement Administrator: (a) will constitute the best practicable notice; (b) are reasonably
calculated, under the circumstances, to apprise the Settlement Class Members of the
pendency of the Action…(c) are reasonable and constitute due, adequate, and sufficient
notice to all Settlement Class Members and other persons entitled to receive notice; and (d)
meet all applicable requirements of law, including but not limited to 28 U.S.C. § 1715, Rule
23(c) and (e), and the Due Process Clause(s) of the United States Constitution.

CULBERTSON T AL. v. DELOITTE CONSULTING LLP
Case No. 1:20-cv-03962
The Honorable Lewis J. Liman, United States District Court, Southern District of New York
(August 27, 2021): The notice procedures described in the Notice Plan are hereby found to
be the best means of providing notice under the circumstances and, when completed, shall
constitute due and sufficient notice of the proposed Settlement Agreement and the Final
Approval Hearing to all persons affected by and/or entitled to participate in the Settlement
Agreement, in full compliance with the notice requirements of Rule 23 of the Federal Rules
of Civil Procedure and due process of law.
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PULMONARY ASSOCIATES OF CHARLESTON PLLC v. GREENWAY HEALTH, LLC
Case No. 3:19-cv-00167
The Honorable Timothy C. Batten, Sr., United States District Court, Northern District of
Georgia (August 24, 2021): Under Rule 23(c)(2), the Court finds that the content, format, and
method of disseminating Notice, as set forth in the Motion, the Declaration of Steven
Weisbrot filed on July 2, 2021, and the Settlement Agreement and Release, including notice
by First Class U.S. Mail and email to all known Class Members, is the best notice practicable
under the circumstances and satisfies all requirements provided in Rule 23(c)(2)(B) and due
process.

IN RE: BROILER CHICKEN GROWER ANTITRUST LITIGATION (NO II)
Case No. 6:20-md-02977
The Honorable Robert J. Shelby, United States District Court, Eastern District of Oklahoma
(August 23, 2021): The Court approves the method of notice to be provided to the Settlement
Class as set forth in Plaintiffs’ Motion and Memorandum of Law in Support of Motion for
Approval of the Form and Manner of Class Notice and Appointment of Settlement
Administrator and Request for Expedited Treatment and the Declaration of Steven Weisbrot
on Angeion Group Qualifications and Proposed Notice Plan…The Court finds and concludes
that such notice: (a) is the best notice that is practicable under the circumstances, and is
reasonably calculated to reach the members of the Settlement Class and to apprise them of
the Action, the terms and conditions of the Settlement, their right to opt out and be excluded
from the Settlement Class, and to object to the Settlement; and (b) meets the requirements
of Federal Rule of Civil Procedure 23 and due process.

ROBERT ET AL. v. AT&T MOBILITY, LLC
Case No. 3:15-cv-03418
The Honorable Edward M. Chen, United States District Court, Northern District of California
(August 20, 2021): The Court finds that such Notice program, including the approved forms
of notice: (a) constituted the best notice that is practicable under the circumstances; (b)
included direct individual notice to all Settlement Class Members who could be identified
through reasonable effort, as well as supplemental notice via a social media notice campaign
and reminder email and SMS notices; (c) constituted notice that was reasonably calculated,
under the circumstances, to apprise Settlement Class Members of the nature of this Action
…(d) constituted due, adequate and sufficient notice to all persons entitled to notice; and (e)
met all applicable requirements of Federal Rule of Civil Procedure 23, Due Process under the
U.S. Constitution, and any other applicable law.

PYGIN v. BOMBAS, LLC
Case No. 4:20-cv-04412
The Honorable Jeffrey S. White, United States District Court, Northern District of California
(July 12, 2021): The Court also concludes that the Class Notice and Notice Program set forth
in the Settlement Agreement satisfy the requirements of due process and Rule 23 and
provide the best notice practicable under the circumstances. The Class Notice and Notice
Program are reasonably calculated to apprise Settlement Class Members of the nature of
this Litigation, the Scope of the Settlement Class, the terms of the Settlement Agreement, the
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right of Settlement Class Members to object to the Settlement Agreement or exclude
themselves from the Settlement Class and the process for doing so, and of the Final Approval
Hearing. Accordingly, the Court approves the Class Notice and Notice Program and the Claim
Form.

WILLIAMS ET AL. v. RECKITT BENCKISER LLC ET AL.
Case No. 1:20-cv-23564
The Honorable Jonathan Goodman, United States District Court, Southern District of Florida
(April 23, 2021): The Court approves, as to form and content, the Class Notice and Internet
Notice submitted by the parties (Exhibits B and D to the Settlement Agreement or Notices
substantially similar thereto) and finds that the procedures described therein meet the
requirements of Rule 23 of the Federal Rules of Civil Procedure and due process, and provide
the best notice practicable under the circumstances. The proposed Class Notice Plan --
consisting of (i) internet and social media notice; and (ii) notice via an established a
Settlement Website -- is reasonably calculated to reach no less than 80% of the Settlement
Class Members.

NELSON ET AL. v. IDAHO CENTRAL CREDIT UNION
Case No. CV03-20-00831, CV03-20-03221
The Honorable Robert C. Naftz, Sixth Judicial District, State of Idaho, Bannock County (January
19, 2021): The Court finds that the Proposed Notice here is tailored to this Class and
designed to ensure broad and effective reach to it…The Parties represent that the operative
notice plan is the best notice practicable and is reasonably designed to reach the settlement
class members. The Court agrees.

IN RE: HANNA ANDERSSON AND SALESFORCE.COM DATA BREACH LITIGATION
Case No. 3:20-cv-00812
The Honorable Edward M. Chen, United States District Court, Northern District of California
(December 29, 2020): The Court finds that the Class Notice and Notice Program satisfy the
requirements of due process and Rule 23 of the Federal Rules of Civil Procedure and provide
the best notice practicable under the circumstances.

IN RE: PEANUT FARMERS ANTITRUST LITIGATION
Case No. 2:19-cv-00463
The Honorable Raymond A. Jackson, United States District Court, Eastern District of Virginia
(December 23, 2020): The Court finds that the Notice Program…constitutes the best notice
that is practicable under the circumstances and is valid, due and sufficient notice to all
persons entitled thereto and complies fully with the requirements of Rule 23(c)(2) and the
due process requirements of the Constitution of the United States.

BENTLEY ET AL. v. LG ELECTRONICS U.S.A., INC.
Case No. 2:19-cv-13554
The Honorable Madeline Cox Arleo, United States District Court, District of New Jersey
(December 18, 2020): The Court finds that notice of this Settlement was given to Settlement
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Class Members in accordance with the Preliminary Approval Order and constituted the best
notice practicable of the proceedings and matters set forth therein, including the Litigation,
the Settlement, and the Settlement Class Members’ rights to object to the Settlement or opt
out of the Settlement Class, to all Persons entitled to such notice, and that this notice
satisfied the requirements of Federal Rule of Civil Procedure 23 and of due process.

IN RE: ALLURA FIBER CEMENT SIDING PRODUCTS LIABILITY LITIGATION
Case No. 2:19-mn-02886
The Honorable David C. Norton, United States District Court, District of South Carolina
(December 18, 2020): The proposed Notice provides the best notice practicable under the
circumstances. It allows Settlement Class Members a full and fair opportunity to consider
the proposed settlement. The proposed plan for distributing the Notice likewise is a
reasonable method calculated to reach all members of the Settlement Class who would be
bound by the settlement. There is no additional method of distribution that would be
reasonably likely to notify Settlement Class Members who may not receive notice pursuant
to the proposed distribution plan.

ADKINS ET AL. v. FACEBOOK, INC.
Case No. 3:18-cv-05982
The Honorable William Alsup, United States District Court, Northern District of California
(November 15, 2020): Notice to the class is “reasonably calculated, under all the
circumstances, to apprise interested parties of the pendency of the action and afford them
an opportunity to present their objections.” Mullane v. Central Hanover Bank & Tr. Co., 399 U.S.
306, 314 (1650).

IN RE: 21ST CENTURY ONCOLOGY CUSTOMER DATA SECURITY BREACH LITIGATION
Case No. 8:16-md-02737
The Honorable Mary S. Scriven, United States District Court, Middle District of Florida
(November 2, 2020): The Court finds and determines that mailing the Summary Notice and
publication of the Settlement Agreement, Long Form Notice, Summary Notice, and Claim
Form on the Settlement Website, all pursuant to this Order, constitute the best notice
practicable under the circumstances, constitute due and sufficient notice of the matters set
forth in the notices to all persons entitled to receive such notices, and fully satisfies the of
due process, Rule 23 of the Federal Rules of Civil Procedure, 28 U.S.C. § 1715, and all other
applicable laws and rules. The Court further finds that all of the notices are written in plain
language and are readily understandable by Class Members.

MARINO ET AL. v. COACH INC.
Case No. 1:16-cv-01122
The Honorable Valerie Caproni, United States District Court, Southern District of New York
(August 24, 2020): The Court finds that the form, content, and method of giving notice to the
Settlement Class as described in paragraph 8 of this Order: (a) will constitute the best
practicable notice; (b) are reasonably calculated, under the circumstances, to apprise the
Settlement Class Members of the pendency of the Action, the terms of the proposed
Settlement, and their rights under the proposed Settlement, including but not limited to their
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rights to object to or exclude themselves from the proposed Settlement and other rights
under the terms of the Settlement Agreement; (c) are reasonable and constitute due,
adequate, and sufficient notice to all Settlement Class Members and other persons entitled
to receive notice; and (d) meet all applicable requirements of law, including but not limited
to 28 U.S.C. § 1715, Rule 23(c) and (e), and the Due Process Clause(s) of the United States
Constitution. The Court further finds that all of the notices are written in plain language, are
readily understandable by Settlement Class Members, and are materially consistent with the
Federal Judicial Center’s illustrative class action notices.

BROWN v. DIRECTV, LLC
Case No. 2:13-cv-01170
The Honorable Dolly M. Gee, United States District Court, Central District of California (July
23, 2020): Given the nature and size of the class, the fact that the class has no geographical
limitations, and the sheer number of calls at issue, the Court determines that these methods
constitute the best and most reasonable form of notice under the circumstances.

IN RE: SSA BONDS ANTITRUST LITIGATION
Case No. 1:16-cv-03711
The Honorable Edgardo Ramos, United States District Court, Southern District of New York
(July 15, 2020): The Court finds that the mailing and distribution of the Notice and the
publication of the Summary Notice substantially in the manner set forth below meet the
requirements of Rule 23 of the Federal Rules of Civil Procedure and due process and
constitute the best notice practicable under the circumstances, and shall constitute due and
sufficient notice to all Persons entitled to notice.

KJESSLER ET AL. v. ZAAPPAAZ, INC. ET AL.
Case No. 4:18-cv-00430
The Honorable Nancy F. Atlas, United States District Court, Southern District of Texas (July
14, 2020): The Court also preliminarily approves the proposed manner of communicating
the Notice and Summary Notice to the putative Settlement Class, as set out below, and finds
it is the best notice practicable under the circumstances, constitutes due and sufficient notice
to all persons and entities entitled to receive such notice, and fully satisfies the requirements
of applicable laws, including due process and Federal Rule of Civil Procedure 23.

HESTER ET AL. v. WALMART, INC.
Case No. 5:18-cv-05225
The Honorable Timothy L. Brooks, United States District Court, Western District of Arkansas
(July 9, 2020): The Court finds that the Notice and Notice Plan substantially in the manner
and form set forth in this Order and the Agreement meet the requirements of Federal Rule
of Civil Procedure 23 and due process, is the best notice practicable under the circumstances,
and shall constitute due and sufficient notice to all Persons entitled thereto.
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CLAY ET AL. v. CYTOSPORT INC.
Case No. 3:15-cv-00165
The Honorable M. James Lorenz, United States District Court, Southern District of California
(June 17, 2020): The Court approves the proposed Notice Plan for giving notice to the
Settlement Class through publication, both print and digital, and through the establishment
of a Settlement Website, as more fully described in the Agreement and the Claims
Administrator’s affidavits (docs. no. 222-9, 224, 224-1, and 232-3 through 232-6). The Notice
Plan, in form, method, and content, complies with the requirements of Rule 23 and due
process, and constitutes the best notice practicable under the circumstances.

GROGAN v. AARON’S INC.
Case No. 1:18-cv-02821
The Honorable J.P. Boulee, United States District Court, Northern District of Georgia (May 1,
2020): The Court finds that the Notice Plan as set forth in the Settlement Agreement meets
the requirements of Fed. R. Civ. P. 23 and constitutes the best notice practicable under the
circumstances, including direct individual notice by mail and email to Settlement Class
Members where feasible and a nationwide publication website-based notice program, as
well    as   establishing    a    Settlement     Website     at    the   web     address    of
www.AaronsTCPASettlement.com, and satisfies fully the requirements the Federal Rules of
Civil Procedure, the U.S. Constitution, and any other applicable law, such that the Settlement
Agreement and Final Order and Judgment will be binding on all Settlement Class Members.

CUMMINGS v. BOARD OF REGENTS OF THE UNIVERSITY OF NEW MEXICO, ET AL.
Case No. D-202-CV-2001-00579
The Honorable Carl Butkus, Second Judicial District Court, County of Bernalillo, State of New
Mexico (March 30, 2020): The Court has reviewed the Class Notice, the Plan of Allocation and
Distribution and Claim Form, each of which it approves in form and substance. The Court
finds that the form and methods of notice set forth in the Agreement: (i) are reasonable and
the best practicable notice under the circumstances; (ii) are reasonably calculated to apprise
Settlement Class Members of the pendency of the Lawsuit, of their rights to object to or opt-
out of the Settlement, and of the Final Approval Hearing; (iii) constitute due, adequate, and
sufficient notice to all persons entitled to receive notice; and (iv) meet the requirements of
the New Mexico Rules of Civil Procedure, the requirements of due process under the New
Mexico and United States Constitutions, and the requirements of any other applicable rules
or laws.

SCHNEIDER, ET AL. v. CHIPOTLE MEXICAN GRILL, INC.
Case No. 4:16-cv-02200
The Honorable Haywood S. Gilliam, Jr., United States District Court, Northern District of
California (January 31, 2020): Given that direct notice appears to be infeasible, the third-
party settlement administrator will implement a digital media campaign and provide for
publication notice in People magazine, a nationwide publication, and the East Bay Times. SA
§ IV.A, C; Dkt. No. 205-12 at ¶¶ 13–23. The publication notices will run for four consecutive
weeks. Dkt. No. 205 at ¶ 23. The digital media campaign includes an internet banner notice
implemented using a 60-day desktop and mobile campaign. Dkt. No. 205-12 at ¶ 18. It will
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rely on “Programmatic Display Advertising” to reach the “Target Audience,” Dkt. No. 216-1 at
¶ 6, which is estimated to include 30,100,000 people and identified using the target definition
of “Fast Food & Drive-In Restaurants Total Restaurants Last 6 Months [Chipotle Mexican
Grill],” Dkt. No. 205-12 at ¶ 13. Programmatic display advertising utilizes “search targeting,”
“category contextual targeting,” “keyword contextual targeting,” and “site targeting,” to place
ads. Dkt. No. 216-1 at ¶¶ 9–12. And through “learning” technology, it continues placing ads
on websites where the ad is performing well. Id. ¶ 7. Put simply, prospective Class Members
will see a banner ad notifying them of the settlement when they search for terms or websites
that are similar to or related to Chipotle, when they browse websites that are categorically
relevant to Chipotle (for example, a website related to fast casual dining or Mexican food),
and when they browse websites that include a relevant keyword (for example, a fitness
website with ads comparing fast casual choices). Id. ¶¶ 9–12. By using this technology, the
banner notice is “designed to result in serving approximately 59,598,000 impressions.” Dkt.
No. 205-12 at ¶ 18.

The Court finds that the proposed notice process is “‘reasonably calculated, under all the
circumstances,’ to apprise all class members of the proposed settlement.” Roes, 944 F.3d at
1045 (citation omitted).

HANLEY v. TAMPA BAY SPORTS AND ENTERTAINMENT LLC
Case No. 8:19-cv-00550
The Honorable Charlene Edwards Honeywell, United States District Court, Middle District of
Florida (January 7, 2020): The Court approves the form and content of the Class notices and
claim forms substantially in the forms attached as Exhibits A-D to the Settlement. The Court
further finds that the Class Notice program described in the Settlement is the best
practicable under the circumstances. The Class Notice program is reasonably calculated
under the circumstances to inform the Settlement Class of the pendency of the Action,
certification of a Settlement Class, the terms of the Settlement, Class Counsel’s attorney’s
fees application and the request for a service award for Plaintiff, and their rights to opt-out
of the Settlement Class or object to the Settlement. The Class notices and Class Notice
program constitute sufficient notice to all persons entitled to notice. The Class notices and
Class Notice program satisfy all applicable requirements of law, including, but not limited to,
Federal Rule of Civil Procedure 23 and the Constitutional requirement of Due Process.

CORCORAN, ET AL. v. CVS HEALTH, ET AL.
Case No. 4:15-cv-03504
The Honorable Yvonne Gonzalez Rogers, United States District Court, Northern District of
California (November 22, 2019):     Having reviewed the parties’ briefings, plaintiffs’
declarations regarding the selection process for a notice provider in this matter and
regarding Angeion Group LLC’s experience and qualifications, and in light of defendants’
non-opposition, the Court APPROVES Angeion Group LLC as the notice provider. Thus, the
Court GRANTS the motion for approval of class notice provider and class notice program on
this basis.
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Having considered the parties’ revised proposed notice program, the Court agrees that the
parties’ proposed notice program is the “best notice that is practicable under the
circumstances.” The Court is satisfied with the representations made regarding Angeion
Group LLC’s methods for ascertaining email addresses from existing information in the
possession of defendants. Rule 23 further contemplates and permits electronic notice to
class members in certain situations. See Fed. R. Civ. P. 23(c)(2)(B). The Court finds, in light of
the representations made by the parties, that this is a situation that permits electronic
notification via email, in addition to notice via United States Postal Service. Thus, the Court
APPROVES the parties’ revised proposed class notice program, and GRANTS the motion for
approval of class notice provider and class notice program as to notification via email and
United States Postal Service mail.

PATORA v. TARTE, INC.
Case No. 7:18-cv-11760
The Honorable Kenneth M. Karas, United States District Court, Southern District of New York
(October 2, 2019): The Court finds that the form, content, and method of giving notice to the
Class as described in Paragraph 9 of this Order: (a) will constitute the best practicable notice;
(b) are reasonably calculated, under the circumstances, to apprise the Settlement Class
Members of the pendency of the Action, the terms of the Proposed Settlement, and their
rights under the Proposed Settlement, including but not limited to their rights to object to or
exclude themselves from the Proposed Settlement and other rights under the terms of the
Settlement Agreement; (c) are reasonable and constitute due, adequate, and sufficient notice
to all Settlement Class Members and other persons entitled to receive notice; and (d) meet
all applicable requirements of law, including but not limited to 28 U.S.C. § 1715, Rule 23(c)
and (e), and the Due Process Clauses of the United States Constitution. The Court further
finds that all of the notices are written in simple terminology, are readily understandable by
Settlement Class Members, and are materially consistent with the Federal Judicial Center's
illustrative class action notices.

CARTER, ET AL. v. GENERAL NUTRITION CENTERS, INC., and GNC HOLDINGS, INC.
Case No. 2:16-cv-00633
The Honorable Mark R. Hornak, United States District Court, Western District of Pennsylvania
(September 9, 2019): The Court finds that the Class Notice and the manner of its
dissemination described in Paragraph 7 above and Section VII of the Agreement constitutes
the best practicable notice under the circumstances and is reasonably calculated, under all
the circumstances, to apprise proposed Settlement Class Members of the pendency of this
action, the terms of the Agreement, and their right to object to or exclude themselves from
the proposed Settlement Class. The Court finds that the notice is reasonable, that it
constitutes due, adequate and sufficient notice to all persons entitled to receive notice, and
that it meets the requirements of due process, Rule 23 of the Federal Rules of Ci vii
Procedure, and any other applicable laws.
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CORZINE v. MAYTAG CORPORATION, ET AL.
Case No. 5:15-cv-05764
The Honorable Beth L. Freeman, United States District Court, Northern District of California
(August 21, 2019): The Court, having reviewed the proposed Summary Notice, the proposed
FAQ, the proposed Publication Notice, the proposed Claim Form, and the proposed plan for
distributing and disseminating each of them, finds and concludes that the proposed plan will
provide the best notice practicable under the circumstances and satisfies all requirements
of federal and state laws and due process.

MEDNICK v. PRECOR, INC.
Case No. 1:14-cv-03624
The Honorable Harry D. Leinenweber, United States District Court, Northern District of
Illinois (June 12, 2019): Notice provided to Class Members pursuant to the Preliminary Class
Settlement Approval Order constitutes the best notice practicable under the circumstances,
including individual email and mail notice to all Class Members who could be identified
through reasonable effort, including information provided by authorized third-party retailers
of Precor. Said notice provided full and adequate notice of these proceedings and of the
matter set forth therein, including the proposed Settlement set forth in the Agreement, to all
persons entitled to such notice, and said notice fully satisfied the requirements of F.R.C.P.
Rule 23 (e) and (h) and the requirements of due process under the United States and
California Constitutions.

GONZALEZ v. TCR SPORTS BROADCASTING HOLDING LLP, ET AL.
Case No. 1:18-cv-20048
The Honorable Darrin P. Gayles, United States District Court, Southern District of Florida (May
24, 2019): The Court finds that notice to the class was reasonable and the best notice
practicable under the circumstances, consistent with Rule 23(e)(1) and Rule 23(c)(2)(B).

ANDREWS ET AL. v. THE GAP, INC., ET AL.
Case No. CGC-18-567237
The Honorable Richard B. Ulmer Jr., Superior Court of the State of California, County of San
Francisco (May 10, 2019): The Court finds that (a) the Full Notice, Email Notice, and
Publication constitute the best notice practicable under the circumstances, (b) they
constitute valid, due, and sufficient notice to all members of the Class, and (c) they comply
fully with the requirements of California Code of Civil Procedure section 382, California Rules
of Court 3.766 and 3.769, the California and United States Constitutions, and other applicable
law.

COLE, ET AL. v. NIBCO, INC.
Case No. 3:13-cv-07871
The Honorable Freda L. Wolfson, United States District Court, District of New Jersey (April 11,
2019): The record shows, and the Court finds, that the Notice Plan has been implemented
in the manner approved by the Court in its Preliminary Approval Order. The Court finds that
the Notice Plan constitutes: (i) the best notice practicable to the Settlement Class under the
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circumstances; (ii) was reasonably calculated, under the circumstances, to apprise the
Settlement Class of the pendency of this…, (iii) due, adequate, and sufficient notice to all
Persons entitled to receive notice; and (iv) notice that fully satisfies the requirements of the
United States Constitution (including the Due Process Clause), Fed. R. Civ. P. 23, and any
other applicable law.

DIFRANCESCO, ET AL. v. UTZ QUALITY FOODS, INC.
Case No. 1:14-cv-14744
The Honorable Douglas P. Woodlock, United States District Court, District of Massachusetts
(March 15, 2019): The Court finds that the Notice plan and all forms of Notice to the Class as
set forth in the Settlement Agreement and Exhibits 2 and 6 thereto, as amended (the "Notice
Program"), is reasonably calculated to, under all circumstances, apprise the members of the
Settlement Class of the pendency of this action, the certification of the Settlement Class, the
terms of the Settlement Agreement, and the right of members to object to the settlement or
to exclude themselves from the Class. The Notice Program is consistent with the
requirements of Rule 23 and due process, and constitutes the best notice practicable under
the circumstances.

IN RE: CHRYSLER-DODGE-JEEP ECODIESEL MARKETING, SALES PRACTICES, AND PRODUCTS
LIABILITY LITIGATION
Case No. 3:17-md-02777
The Honorable Edward M. Chen, United States District Court, Northern District of California
(February 11, 2019): Also, the parties went through a sufficiently rigorous selection process
to select a settlement administrator. See Proc. Guidance for Class Action Sett. ¶ 2; see also
Cabraser Decl. ¶¶ 9-10. While the settlement administration costs are significant – an
estimated $1.5 million – they are adequately justified given the size of the class and the relief
being provided.

In addition, the Court finds that the language of the class notices (short and long-form) is
appropriate and that the means of notice – which includes mail notice, electronic notice,
publication notice, and social media “marketing” – is the “best notice…practicable under the
circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see also Proc. Guidance for Class Action Sett. ¶¶ 3-
5, 9 (addressing class notice, opt-outs, and objections). The Court notes that the means of
notice has changed somewhat, as explained in the Supplemental Weisbrot Declaration filed
on February 8, 2019, so that notice will be more targeted and effective. See generally Docket
No. 525 (Supp. Weisbrot Decl.) (addressing, inter alia, press release to be distributed via
national newswire service, digital and social media marketing designed to enhance notice,
and “reminder” first-class mail notice when AEM becomes available).

Finally, the parties have noted that the proposed settlement bears similarity to the
settlement in the Volkswagen MDL. See Proc. Guidance for Class Action Sett. ¶ 11.
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RYSEWYK, ET AL. v. SEARS HOLDINGS CORPORATION and SEARS, ROEBUCK AND COMPANY
Case No. 1:15-cv-04519
The Honorable Manish S. Shah, United States District Court, Northern District of Illinois
(January 29, 2019): The Court holds that the Notice and notice plan as carried out satisfy the
requirements of Rule 23(e) and due process. This Court has previously held the Notice and
notice plan to be reasonable and the best practicable under the circumstances in its
Preliminary Approval Order dated August 6, 2018. (Dkt. 191) Based on the declaration of
Steven Weisbrot, Esq. of Angeion Group (Dkt. No. 209-2), which sets forth compliance with
the Notice Plan and related matters, the Court finds that the multi-pronged notice strategy
as implemented has successfully reached the putative Settlement Class, thus constituting
the best practicable notice and satisfying due process.

MAYHEW, ET AL. v. KAS DIRECT, LLC, and S.C. JOHNSON & SON, INC.
Case No. 7:16-cv-06981
The Honorable Vincent J. Briccetti, United States District Court, Southern District of New York
(June 26, 2018): In connection with their motion, plaintiffs provide the declaration of Steven
Weisbrot, Esq., a principal at the firm Angeion Group, LLC, which will serve as the notice and
settlement administrator in this case. (Doc. #101, Ex. F: Weisbrot Decl.) According to Mr.
Weisbrot, he has been responsible for the design and implementation of hundreds of class
action administration plans, has taught courses on class action claims administration, and
has given testimony to the Judicial Conference Committee on Rules of Practice and
Procedure on the role of direct mail, email, and digital media in due process notice. Mr.
Weisbrot states that the internet banner advertisement campaign will be responsive to
search terms relevant to “baby wipes, baby products, baby care products, detergents,
sanitizers, baby lotion, [and] diapers,” and will target users who are currently browsing or
recently browsed categories “such as parenting, toddlers, baby care, [and] organic products.”
(Weisbrot Decl. ¶ 18). According to Mr. Weisbrot, the internet banner advertising campaign
will reach seventy percent of the proposed class members at least three times each. (Id. ¶
9). Accordingly, the Court approves of the manner of notice proposed by the parties as it is
reasonable and the best practicable option for confirming the class members receive notice.

IN RE: OUTER BANKS POWER OUTAGE LITIGATION
Case No. 4:17-cv-00141
The Honorable James C. Dever III, United States District Court, Eastern District of North
Carolina (May 2, 2018): The court has reviewed the proposed notice plan and finds that the
notice plan provides the best practicable notice under the circumstances and, when
completed, shall constitute fair, reasonable, and adequate notice of the settlement to all
persons and entities affected by or entitled to participate in the settlement, in full compliance
with the notice requirements of Fed. R. Civ. P. 23(c)(2)(B) and due process. Thus, the court
approves the proposed notice plan.

GOLDEMBERG, ET AL. v. JOHNSON & JOHNSON CONSUMER COMPANIES, INC.
Case No. 7:13-cv-03073
The Honorable Nelson S. Roman, United States District Court, Southern District of New York
(November 1, 2017): Notice of the pendency of the Action as a class action and of the
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proposed Settlement, as set forth in the Settlement Notices, was given to all Class Members
who could be identified with reasonable effort, consistent with the terms of the Preliminary
Approval Order. The form and method of notifying the Class of the pendency of the Action
as a class action and of the terms and conditions of the proposed Settlement met the
requirements of Rule 23 of the Federal Rules of Civil Procedure, due process, and any other
applicable law in the United States. Such notice constituted the best notice practicable under
the circumstances, and constituted due and sufficient notice to all persons and entities
entitled thereto.

HALVORSON v. TALENTBIN, INC.
Case No. 3:15-cv-05166
The Honorable Joseph C. Spero, United States District Court, Northern District of California
(July 25, 2017): The Court finds that the Notice provided for in the Order of Preliminary
Approval of Settlement has been provided to the Settlement Class, and the Notice provided
to the Settlement Class constituted the best notice practicable under the circumstances,
and was in full compliance with the notice requirements of Rule 23 of the Federal Rules of
Civil Procedure, due process, the United States Constitution, and any other applicable law.
The Notice apprised the members of the Settlement Class of the pendency of the litigation;
of all material elements of the proposed settlement, including but not limited to the relief
afforded the Settlement Class under the Settlement Agreement; of the res judicata effect on
members of the Settlement Class and of their opportunity to object to, comment on, or opt-
out of, the Settlement; of the identity of Settlement Class Counsel and of information
necessary to contact Settlement Class Counsel; and of the right to appear at the Fairness
Hearing. Full opportunity has been afforded to members of the Settlement Class to
participate in the Fairness Hearing. Accordingly, the Court determines that all Final
Settlement Class Members are bound by this Final Judgment in accordance with the terms
provided herein.

IN RE: ASHLEY MADISON CUSTOMER DATA SECURITY BREACH LITIGATION
MDL No. 2669/Case No. 4:15-md-02669
The Honorable John A. Ross, United States District Court, Eastern District of Missouri (July 21,
2017): The Court further finds that the method of disseminating Notice, as set forth in the
Motion, the Declaration of Steven Weisbrot, Esq. on Adequacy of Notice Program, dated July
13, 2017, and the Parties’ Stipulation—including an extensive and targeted publication
campaign composed of both consumer magazine publications in People and Sports
Illustrated, as well as serving 11,484,000 highly targeted digital banner ads to reach the
prospective class members that will deliver approximately 75.3% reach with an average
frequency of 3.04 —is the best method of notice practicable under the circumstances and
satisfies all requirements provided in Rule 23(c)(2)(B) and all Constitutional requirements
including those of due process.

The Court further finds that the Notice fully satisfies Rule 23 of the Federal Rules of Civil
Procedure and the requirements of due process; provided, that the Parties, by agreement,
may revise the Notice, the Claim Form, and other exhibits to the Stipulation, in ways that are
not material or ways that are appropriate to update those documents for purposes of
accuracy.
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TRAXLER, ET AL. v. PPG INDUSTRIES INC., ET AL.
Case No. 1:15-cv-00912
The Honorable Dan Aaron Polster, United States District Court, Northern District of Ohio
(April 27, 2017): The Court hereby approves the form and procedure for disseminating notice
of the proposed settlement to the Settlement Class as set forth in the Agreement. The Court
finds that the proposed Notice Plan contemplated constitutes the best notice practicable
under the circumstances and is reasonably calculated, under the circumstances, to apprise
Settlement Class Members of the pendency of the Action and their right to object to the
proposed settlement or opt out of the Settlement Class in full compliance with the
requirements of applicable law, including the Due Process Clause of the United States
Constitution and Rules 23(c) and (e). In addition, Class Notice clearly and concisely states in
plain, easily understood language: (i) the nature of the action; (ii) the definition of the certified
Settlement Class; (iii) the claims and issues of the Settlement Class; (iv) that a Settlement
Class Member may enter an appearance through an attorney if the member so desires; (v)
that the Court will exclude from the Settlement Class any member who requests exclusion;
(vi) the time and manner for requesting exclusion; and (vii) the binding effect of a class
judgment on members under Rule 23(c)(3).

IN RE: THE HOME DEPOT, INC., CUSTOMER DATA SECURITY BREACH LITIGATION
Case No. 1:14-md-02583
The Honorable Thomas W. Thrash Jr., United States District Court, Northern District of
Georgia (March 10, 2017): The Court finds that the form, content, and method of giving
notice to the settlement class as described in the settlement agreement and exhibits: (a)
constitute the best practicable notice to the settlement class; (b) are reasonably calculated,
under the circumstances, to apprise settlement class members of the pendency of the
action, the terms of the proposed settlement, and their rights under the proposed
settlement; (c) are reasonable and constitute due, adequate, and sufficient notice to those
persons entitled to receive notice; and (d) satisfy the requirements of Federal Rule of Civil
Procedure 23, the constitutional requirement of due process, and any other legal
requirements. The Court further finds that the notice is written in plain language, uses simple
terminology, and is designed to be readily understandable by settlement class members.

ROY v. TITEFLEX CORPORATION t/a GASTITE and WARD MANUFACTURING, LLC
Case No. 384003V
The Honorable Ronald B. Rubin, Circuit Court for Montgomery County, Maryland (February
24, 2017): What is impressive to me about this settlement is in addition to all the usual
recitation of road racing litanies is that there is going to be a) public notice of a real nature
and b) about a matter concerning not just money but public safety and then folks will have
the knowledge to decide for themselves whether to take steps to protect themselves or not.
And that’s probably the best thing a government can do is to arm their citizens with
knowledge and then the citizens can make decision. To me that is a key piece of this deal. I
think the notice provisions are exquisite [emphasis added].
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IN RE: LG FRONT LOADING WASHING MACHINE CLASS ACTION LITIGATION
Case No. 2:08-cv-00051
The Honorable Madeline Cox Arleo, United States District Court, District of New Jersey (June
17, 2016): This Court further approves the proposed methods for giving notice of the
Settlement to the Members of the Settlement Class, as reflected in the Settlement
Agreement and the joint motion for preliminary approval. The Court has reviewed the
notices attached as exhibits to the Settlement, the plan for distributing the Summary Notices
to the Settlement Class, and the plan for the Publication Notice's publication in print
periodicals and on the internet, and finds that the Members of the Settlement Class will
receive the best notice practicable under the circumstances. The Court specifically approves
the Parties' proposal to use reasonable diligence to identify potential class members and an
associated mailing and/or email address in the Company's records, and their proposal to
direct the ICA to use this information to send absent class members notice both via first class
mail and email. The Court further approves the plan for the Publication Notice's publication
in two national print magazines and on the internet. The Court also approves payment of
notice costs as provided in the Settlement. The Court finds that these procedures, carried
out with reasonable diligence, will constitute the best notice practicable under the
circumstances and will satisfy.

FENLEY v. APPLIED CONSULTANTS, INC.
Case No. 2:15-cv-00259
The Honorable Mark R. Hornak, United States District Court, Western District of Pennsylvania
(June 16, 2016): The Court would note that it approved notice provisions of the settlement
agreement in the proceedings today. That was all handled by the settlement and
administrator Angeion. The notices were sent. The class list utilized the Postal Service's
national change of address database along with using certain proprietary and other public
resources to verify addresses. the requirements of Fed.R.Civ.P. 23(c)(2), Fed.R.Civ.P. 23(e) (l),
and Due Process....

The Court finds and concludes that the mechanisms and methods of notice to the class as
identified were reasonably calculated to provide all notice required by the due process
clause, the applicable rules and statutory provisions, and that the results of the efforts of
Angeion were highly successful and fulfilled all of those requirements [emphasis added].

FUENTES, ET AL. v. UNIRUSH, LLC d/b/a UNIRUSH FINANCIAL SERVICES, ET AL.
Case No. 1:15-cv-08372
The Honorable J. Paul Oetken, United States District Court, Southern District of New York
(May 16, 2016): The Court approves, as to form, content, and distribution, the Claim Form
attached to the Settlement Agreement as Exhibit A, the Notice Plan, and all forms of Notice
to the Settlement Class as set forth in the Settlement Agreement and Exhibits B-D, thereto,
and finds that such Notice is the best notice practicable under the circumstances, and that
the Notice complies fully with the requirements of the Federal Rules of Civil Procedure. The
Court also finds that the Notice constitutes valid, due and sufficient notice to all persons
entitled thereto, and meets the requirements of Due Process. The Court further finds that
the Notice is reasonably calculated to, under all circumstances, reasonably apprise members
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of the Settlement Class of the pendency of the Actions, the terms of the Settlement
Agreement, and the right to object to the settlement and to exclude themselves from the
Settlement Class. The Parties, by agreement, may revise the Notices and Claim Form in ways
that are not material, or in ways that are appropriate to update those documents for
purposes of accuracy or formatting for publication.

IN RE: WHIRLPOOL CORP. FRONTLOADING WASHER PRODUCTS LIABILITY LITIGATION
MDL No. 2001/Case No. 1:08-wp-65000
The Honorable Christopher A. Boyko, United States District Court, Northern District of Ohio
(May 12, 2016): The Court, having reviewed the proposed Summary Notices, the proposed
FAQ, the proposed Publication Notice, the proposed Claim Form, and the proposed plan for
distributing and disseminating each of them, finds and concludes that the proposed plan for
distributing and disseminating each of them will provide the best notice practicable under
the circumstances and satisfies all requirements of federal and state laws and due process.

SATERIALE, ET AL. v. R.J. REYNOLDS TOBACCO CO.
Case No. 2:09-cv-08394
The Honorable Christina A. Snyder, United States District Court, Central District of California
(May 3, 2016): The Court finds that the Notice provided to the Settlement Class pursuant to
the Settlement Agreement and the Preliminary Approval Order has been successful, was the
best notice practicable under the circumstances and (1) constituted notice that was
reasonably calculated, under the circumstances, to apprise members of the Settlement Class
of the pendency of the Action, their right to object to the Settlement, and their right to appear
at the Final Approval Hearing; (2) was reasonable and constituted due, adequate, and
sufficient notice to all persons entitled to receive notice; and (3) met all applicable
requirements of the Federal Rules of Civil Procedure, Due Process, and the rules of the Court.

FERRERA, ET AL. v. SNYDER’S-LANCE, INC.
Case No. 0:13-cv-62496
The Honorable Joan A. Lenard, United States District Court, Southern District of Florida
(February 12, 2016): The Court approves, as to form and content, the Long-Form Notice and
Short- Form Publication Notice attached to the Memorandum in Support of Motion for
Preliminary Approval of Class Action Settlement as Exhibits 1 and 2 to the Stipulation of
Settlement. The Court also approves the procedure for disseminating notice of the proposed
settlement to the Settlement Class and the Claim Form, as set forth in the Notice and Media
Plan attached to the Memorandum in Support of Motion for Preliminary Approval of Class
Action Settlement as Exhibits G. The Court finds that the notice to be given constitutes the
best notice practicable under the circumstances, and constitutes valid, due, and sufficient
notice to the Settlement Class in full compliance with the requirements of applicable law,
including the Due Process Clause of the United States Constitution.

IN RE: POOL PRODUCTS DISTRIBUTION MARKET ANTITRUST LITIGATION
MDL No. 2328/Case No. 2:12-md-02328
The Honorable Sarah S. Vance, United States District Court, Eastern District of Louisiana
(December 31, 2014): To make up for the lack of individual notice to the remainder of the
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class, the parties propose a print and web-based plan for publicizing notice. The Court
welcomes the inclusion of web- based forms of communication in the plan. The Court finds
that the proposed method of notice satisfies the requirements of Rule 23(c)(2)(B) and due
process. The direct emailing of notice to those potential class members for whom Hayward
and Zodiac have a valid email address, along with publication of notice in print and on the
web, is reasonably calculated to apprise class members of the settlement. Moreover, the
plan to combine notice for the Zodiac and Hayward settlements should streamline the
process and avoid confusion that might otherwise be caused by a proliferation of notices for
different settlements. Therefore, the Court approves the proposed notice forms and the plan
of notice.

SOTO, ET AL. v. THE GALLUP ORGANIZATION, INC.
Case No. 0:13-cv-61747
The Honorable Marcia G. Cooke, United States District Court, Southern District of Florida
(June 16, 2015): The Court approves the form and substance of the notice of class action
settlement described in ¶ 8 of the Agreement and attached to the Agreement as Exhibits A,
C and D. The proposed form and method for notifying the Settlement Class Members of the
settlement and its terms and conditions meet the requirements of Fed. R. Civ. P. 23(c)(2)(B)
and due process, constitute the best notice practicable under the circumstances, and shall
constitute due and sufficient notice to all persons and entities entitled to the notice. The
Court finds that the proposed notice is clearly designed to advise the Settlement Class
Members of their rights.

OTT v. MORTGAGE INVESTORS CORPORATION OF OHIO, INC.
Case No. 3:14-cv-00645
The Honorable Janice M. Stewart, United States District Court, District of Oregon (July 20,
2015): The Notice Plan, in form, method, and content, fully complies with the requirements
of Rule 23 and due process, constitutes the best notice practicable under the circumstances,
and is due and sufficient notice to all persons entitled thereto. The Court finds that the Notice
Plan is reasonably calculated to, under all circumstances, reasonably apprise the persons in
the Settlement Class of the pendency of this action, the terms of the Settlement Agreement,
and the right to object to the Settlement and to exclude themselves from the Settlement
Class.
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             Exhibit 1C
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                        United States District Court for the Northern District of California

                  In Re Facebook Internet Tracking Litigation, Case No. 5:12-MD-02314-EJD

                NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION


                 If you are a person who, between April 22, 2010 and
          September 26, 2011, inclusive, were a Facebook User in the United
             States who visited non-Facebook websites that displayed the
           Facebook Like button, you may be eligible for a payment from a
                               Class Action Settlement.
             A federal court authorized this Notice. You are not being sued. This is not a solicitation
                                                  from a lawyer.

  •       A Settlement 1 has been reached between Defendant Meta Platforms, Inc., formerly Facebook, Inc.
          (“Meta” or “Defendant”) and Plaintiffs in a class action lawsuit pending in the United States District
          Court for the Northern District of California.

  •       You are included in this Settlement as a Settlement Class Member if, between April 22, 2010 and
          September 26, 2011 inclusive, you were a Facebook User in the United States who visited non-
          Facebook websites that displayed the Facebook Like button.

  •       The lawsuit is known as In Re Facebook Internet Tracking Litigation, Case No. 5:12-MD-02314-EJD
          (N.D. California). Defendant denies that it violated any law but has agreed to the Settlement to avoid
          the costs and risks associated with continuing this case.

  •       Your rights are affected whether you act or don’t act. Please read this Notice carefully.

            SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT                                 DEADLINE
SUBMIT A CLAIM               The only way to receive a payment from this Settlement is by             DEADLINE
                             submitting a timely and properly completed Claim Form that               DATE
                             obtains approval from the Settlement Administrator. The Claim
                             Form must be submitted no later than [claims deadline]. You can
                             submit your Claim Form online at [URL] or download the claim
                             from the Settlement Website and mail it to the Settlement
                             Administrator. If your claim is approved by the Settlement
                             Administrator, you will give up the right to sue the Defendant in
                             a separate lawsuit about the legal claims this Settlement resolves.

      1
       All capitalized terms not defined herein have the same meaning as in the Settlement Agreement,
      which can be viewed at WEBSITE URL.
                                                           1
                   Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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OPT OUT OF THE                        You can choose to opt out of the Settlement and receive no                                               DEADLINE
SETTLEMENT                            payment. This option allows you to sue, continue to sue, or be part                                      DATE
                                      of another lawsuit against the Defendant related to the legal claims
                                      resolved by this Settlement.
OBJECT TO THE                         If you do not exclude yourself from the Settlement, you may                                              DEADLINE
SETTLEMENT AND/OR                     object to it by writing to the Court about why you don’t like the                                        DATE
ATTEND A HEARING                      Settlement. If you object, you may also file a claim for a payment.
                                      You may object to the Settlement and ask the Court for permission
                                      to speak at the Final Approval Hearing about your objection.
DO NOTHING                            Unless you exclude yourself, you are automatically part of the                                           No Deadline
                                      Settlement. If you do nothing, you will not get a payment from
                                      this Settlement and you will give up the right to sue, continue to
                                      sue, or be part of another lawsuit against the Defendant related to
                                      the legal claims resolved by this Settlement.

  •      These rights and options—and the deadlines to exercise them—are explained in this Notice.

  •      The Court in charge of this case still has to decide whether to approve the Settlement.


                                                            WHAT THIS NOTICE CONTAINS

      BASIC INFORMATION .................................................................................................................................... 2
      WHO IS IN THE SETTLEMENT ........................................................................................................................ 3
      THE SETTLEMENT BENEFITS ......................................................................................................................... 4
      HOW TO GET A PAYMENT—MAKING A CLAIM ............................................................................................ 5
      THE LAWYERS REPRESENTING YOU ............................................................................................................. 6
      EXCLUDING YOURSELF FROM THE SETTLEMENT ......................................................................................... 6
      COMMENTING ON OR OBJECTING TO THE SETTLEMENT ............................................................................... 7
      THE COURT’S FINAL APPROVAL HEARING ................................................................................................... 8
      IF I DO NOTHING ........................................................................................................................................... 8
      GETTING MORE INFORMATION ..................................................................................................................... 8



                                                                   BASIC INFORMATION


       1. Why was this Notice issued?

      A federal court authorized this Notice because you have a right to know about the proposed Settlement
      of this class action lawsuit and about all of your options before the Court decides whether to grant final
                                                                                   2
                       Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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approval of the Settlement. This Notice explains the lawsuit, your legal rights, what benefits are
available, and who can receive them.

The Honorable Edward J. Davila of the United States District Court for the Northern District of
California is overseeing this class action. The case is known as In Re Facebook Internet Tracking
Litigation, Case No. 5:12-MD-02314-EJD (N.D. Cal.). The people that filed this lawsuit are called the
“Plaintiffs” and the company they sued, Meta Platforms, Inc. (formerly Facebook, Inc.), is called the
“Defendant.”


 2. What is this lawsuit about?

This lawsuit alleges that the Defendant improperly obtained and collected data from Facebook Users
in the United States who visited non-Facebook websites that displayed the Facebook Like button
between April 22, 2010 and September 26, 2011, inclusive. The Defendant expressly denies any
liability or wrongdoing whatsoever.


 3. What is a class action?

In a class action, one or more individuals sue on behalf of other people with similar claims. Together,
the people included in the class action are called a class or class members. One court resolves the
lawsuit for all class members, except for those who exclude themselves from a settlement. In this
Settlement, the Settlement Class Representatives are Perrin Davis, Cynthia Quinn, Brian Lentz,
Matthew Vickery, Ryan Ung, Chi Cheng, and Alice Rosen.

 4. Why is there a Settlement?


The Court did not decide in favor of Plaintiffs or Defendant. Defendant further denies all claims and
that it violated any law. Plaintiffs and Defendant agreed to a Settlement to avoid the costs and risks of
a trial, and the Settlement Class Members can receive payments from the Settlement. The Settlement
Class Representatives and their attorneys think the Settlement is best for all Settlement Class Members.

                                    WHO IS IN THE SETTLEMENT?


 5. Who is in the Settlement?

The Settlement Class includes all persons who, between April 22, 2010 and September 26, 2011,
inclusive (the “Settlement Class Period”), were Facebook Users in the United States that visited non-
Facebook websites that displayed the Facebook Like button.


 6. Are there exceptions to being included?


Yes. The Settlement Class does not include: (a) Meta and any and all of its predecessors, successors,
assigns, parents, subsidiaries, affiliates, directors, officers, employees, agents, representatives, and
                                                   3
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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attorneys, and any and all of the parents’, subsidiaries’, and affiliates’ present and former predecessors,
successors, assigns, directors, officers, employees, agents, representatives, and attorneys; (b) any
judicial officer presiding over the Actions, or any member of his or her immediate family or of his or
her judicial staff; (c) any Excluded Settlement Class Member; (d) the Settlement Administrator and
any and all of its predecessors, successors, assigns, parents, subsidiaries, affiliates, directors, officers,
employees, agents, representatives, and attorneys, and any and all of the parents’, subsidiaries’, and
affiliates’ present and former predecessors, successors, assigns, directors, officers, employees, agents,
representatives, and attorneys; and (e) Lead Class Counsel and any and all of their predecessors,
successors, assigns, parents, subsidiaries, affiliates, directors, officers, employees, agents,
representatives, and attorneys.

If you are not sure whether you are included in the Settlement Class, you can ask for free help by
emailing the Settlement Administrator at EMAIL ADDRESS or calling the Settlement Administrator
at 1-XXX-XXX-XXXX. You may also view the Settlement Agreement at WEBSITE URL.


                                      THE SETTLEMENT BENEFITS

 7. What does the Settlement provide?


If the Settlement is approved by the Court, Defendant will establish a Settlement Fund of ninety million
dollars ($90,000,000.00) to pay all valid claims submitted by the Settlement Class Members, as well
as notice and administration expenses, attorneys’ fees and expenses, and service awards for the
Settlement Class Representatives.

As non-financial consideration for the Settlement, if approved by the Court, Defendant will delete to
the extent not already deleted from all of Defendant’s potentially relevant systems all cookie data (i)
that Facebook received or collected from, about, or associated with Facebook Users in the United
States who visited non-Facebook websites that displayed the Facebook Like button between April 22,
2010 and September 26, 2011, and (ii) that may be used to identify a specific Facebook User from
Facebook cookies.



 8. How much will my payment be?


The total amount distributed to the Settlement Class Members shall be the Settlement Fund and any
interest earned thereon, less the Administrative Costs, any amount awarded by the Court for any Fee
and Expense Award to Settlement Class Counsel, and any Service Awards. This amount to be
distributed to the Settlement Class Members is the Net Settlement Fund.

If you submit an Approved Claim and have not submitted a valid and timely request for exclusion from
the Settlement Class, you will receive an equal share of the Net Settlement Fund.



 9. What claims am I releasing if I stay in the Settlement Class?
                                                     4
            Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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Unless you exclude yourself from the Settlement, you cannot sue, continue to sue, or be part of any
other lawsuit against the Defendant about any of the legal claims this Settlement resolves. The
“Released Claims” section in the Settlement Agreement describes the legal claims that you release if
you remain in the Settlement Class. The Settlement Agreement can be found at WEBSITE URL.

                            HOW TO GET A PAYMENT—MAKING A CLAIM


 10. How do I submit a claim and get a cash payment?


Claim Forms may be submitted online at WEBSITE URL or printed from the website and mailed to
the Settlement Administrator at: Facebook Internet Tracking Litigation, c/o Administrator, 1650 Arch
Street, Suite 2210, Philadelphia, PA 19103.

You may also contact the Settlement Administrator to request a Claim Form by telephone (1-XXX-
XXX-XXXX), by email (EMAIL ADDRESS), or by U.S. mail at Facebook Internet Tracking
Litigation, c/o Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103.



 11. What is the deadline for submitting a claim?


If you submit a claim by U.S. mail, the completed and signed Claim Form must be postmarked by
DEADLINE DATE. If submitting a Claim Form online, you must do so by 11:59 p.m. PST on
DEADLINE DATE.


 12. When will I get my payment?


The Court has scheduled a Final Fairness Hearing for the Settlement of this case on DATE at TIME
PST to consider whether to approve the Settlement; any objections; and the requests for awards to the
Settlement Class Representatives and attorneys’ fees, costs and expenses to Settlement Class Counsel
for their work in this litigation. If the Court approves the Settlement, there may be appeals. It is always
uncertain whether appeals will be filed and, if so, how long it will take to resolve them. Settlement
payments will be distributed as soon as possible, if and when the Court grants Final Approval of the
Settlement and after any appeals are resolved.

The briefs and declarations in support of the Final Approval of the Settlement and the requests
described above will be posted on the Settlement Website, [URL], after they are filed. You may ask to
appear at the hearing but you do not have to. The date and time of the Final Approval Hearing is also
subject to modification by the Court. Please review the Settlement Website for any updated
information regarding the final hearing.




                                                    5
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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                                 THE LAWYERS REPRESENTING YOU


 13. Do I have a lawyer in the case?


Yes. The Court has appointed the law firms of DiCello Levitt Gutzler LLC, Grygiel Law LLC, and
Simmons Hanly Conroy LLC to represent the Settlement Class as Lead Class Counsel. You will not
be charged for their services.


 14. Should I get my own lawyer?


You do not need to hire your own lawyer because Lead Class Counsel works for you. If you want to
be represented by your own lawyer, you may hire one at your own expense.


 15. How will the lawyers be paid?


Lead Class Counsel will ask the Court for an award of attorneys’ fees not to exceed 29% of the
Settlement Fund, and expenses not to exceed $600,000. They will also ask the Court to approve a
service award for each of the Settlement Class Representatives not to exceed $5,000 each. The Court
may award less than these amounts. If approved, these fees, costs and awards will be paid from the
Settlement Fund.

                          EXCLUDING YOURSELF FROM THE SETTLEMENT


 16. How do I opt out of the Settlement?


If you do not want to receive any benefits from the Settlement, and you want to keep your right, if any,
to separately sue the Defendant about the legal issues in this case, you must take steps to exclude
yourself from the Settlement Class. This is called “opting out” of the Settlement Class. The deadline
for requesting exclusion from the Settlement is DEADLINE DATE.

To exclude yourself from the Settlement, you must submit a completed and signed Opt-Out Form
online at [URL] or by U.S. mail at the below address. Alternatively, you can submit a written request
for exclusion that includes: (1) your name; (2) your current address; (3) a clear and explicit statement
that you wish to be excluded from the Settlement - In Re Facebook Internet Tracking Litigation, Case
No. 5:12-MD-02314-EJD (N.D. Cal.); and (4) your signature. Your request for exclusion must be
submitted online at WEBSITE URL or via U.S. mail at the address below:

                                Facebook Internet Tracking Litigation
                                     ATTN: Exclusion Request
                                          PO Box 58220
                                      Philadelphia, PA 19102


                                                   6
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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If you exclude yourself, you are stating to the Court that you do not want to be part of the Settlement.
You will not be eligible to receive a payment if you exclude yourself.

If submitted electronically, the Opt-Out Form or any written request to opt-out must be submitted no
later than 11:59 p.m. PST on or before DEADLINE DATE.

If submitted by U.S. mail, the Opt-Out Form or any written request to opt-out must be postmarked no
later than DEADLINE DATE.

                       COMMENTING ON OR OBJECTING TO THE SETTLEMENT

 17. How do I tell the Court if I do not like the Settlement?


If you are a Settlement Class Member, you can object to the Settlement if you do not like it or a portion
of it. You can give reasons why you think the Court should not approve it. The Court will consider
your views.

Your Objection must include: (i) the case name and number: In Re Facebook Internet Tracking
Litigation, Case No. 5:12-MD-02314-EJD (N.D. Cal.); (ii) the Objector’s full name, address, telephone
number, email address; Facebook account URL (if reasonably available); the email address and
telephone number associated with the Settlement Class Member’s Facebook account; and his or her
signature; (iii) the full name, address, telephone number, and email address of the Objector’s counsel
(if the Objector is represented by counsel); and (iv) the grounds for the Objection, including any legal
and factual support and any evidence in support of the Objection.

Any comments or Objections from Settlement Class Members regarding the proposed Settlement
Agreement must be submitted in writing to the Court either by mailing them to the Class Action Clerk,
United States District Court for the Northern District of California; or by filing them in person at any
location of the United States District Court for the Northern District of California, and they must be
filed or postmarked on or before DEADLINE DATE.

                                 INSERT COURT ADDRESS(ES)

You or your attorney may speak at the Final Approval Hearing about your objection. To do so, you
must include a statement in your objection indicating that you or your attorney intend to appear at the
Final Approval Hearing.

 18. What is the difference between objecting and excluding?


Objecting is telling the Court that you do not like something about the Settlement. You can object to
the Settlement only if you do not exclude yourself from the Settlement. Excluding yourself from the
Settlement is opting out and stating to the Court that you do not want to be part of the Settlement. If
you opt out of the Settlement, you cannot object to it because it no longer affects you.



                                                   7
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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                             THE COURT’S FINAL APPROVAL HEARING


 19. When is the Court’s Final Approval Hearing?


The Court has scheduled a Final Approval Hearing at TIME PST on DATE, in Courtroom XXX
located at COURT ADDRESS. At the Final Approval Hearing, the Court will consider whether the
Settlement is fair, reasonable, and adequate. The Court will also consider whether to approve Lead
Class Counsel’s request for an award of attorneys’ fees and expenses, as well as the Settlement Class
Representatives’ service awards. If there are objections, the Court will consider them. Judge Davila
will listen to people who have asked to speak at the hearing (see Question 17 above). After the hearing,
the Court will decide whether to approve the Settlement.

The date or time of the Final Approval Hearing may change. Please check the Settlement Website,
WEBSITE URL, for any updates.


 20. Do I have to come to the Final Approval Hearing?


No. Lead Class Counsel will answer any questions the Court may have. You may attend at your own
expense if you wish. If you submit an objection, you do not have to come to the Final Approval Hearing
to talk about it. If you submit your written objection on time, the Court will consider it. You may also
pay your own lawyer to attend, but it is not necessary.

                                          IF I DO NOTHING

 21. What happens if I do nothing at all?


If you are a Settlement Class Member and you do nothing, you will give up the rights explained in
Question 9, including your right to start a lawsuit, continue a lawsuit, or be part of any other lawsuit
against the Defendant and the Released Parties about the legal issues resolved by this Settlement. In
addition, you will not receive a payment from this Settlement.

                                   GETTING MORE INFORMATION

 22. How do I get more information?


This Notice summarizes the proposed Settlement. Complete details are provided in the Settlement
Agreement. The Settlement Agreement and other related documents are available at the Settlement
Website, WEBSITE URL.

If you have additional questions, you may contact the Settlement Administrator by email, phone, or
mail:

Email: EMAIL ADDRESS
                                                   8
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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Toll-Free: 1-XXX-XXX-XXXX

Mail: Facebook Internet Tracking Litigation, c/o Administrator, 1650 Arch Street, Suite 2210,
Philadelphia, PA 19103

Publicly filed documents can also be obtained by visiting the office of the Clerk of the United States
District Court for the Northern District of California or reviewing the Court’s online docket.




                                                  9
           Questions? Call 1-XXX-XXX-XXXX Toll-Free or Visit WEBSITE URL
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             Exhibit 1D
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              UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                In Re Facebook Internet Tracking Litigation, Case No. 5:12-MD-02314-EJD
                                        [Settlement Website URL]

                                     CLAIM FORM INSTRUCTIONS

This Claim Form is for Settlement Class Members. The Settlement Class includes the following: All persons who,
between April 22, 2010 and September 26, 2011, inclusive, were Facebook Users in the United States that visited
non-Facebook websites that displayed the Facebook Like button. To receive a payment from the Settlement, you
must complete and submit this form.

                                    How To Complete This Claim Form

1. There are two ways to submit this Claim Form to the Settlement Administrator: (a) online at [URL]; or
   (b) by U.S. Mail to the following address: Facebook Internet Tracking Litigation, c/o Settlement
   Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103. Your Claim Form must be submitted
   by DATE. If you submit your claim by U.S. mail, make sure the completed and signed Claim Form is
   postmarked by DATE.

2. You must complete the entire Claim Form. Please type or write your responses legibly.

3. If your Claim Form is incomplete or missing information, the Settlement Administrator may contact you for
   additional information. If you do not respond by the deadline provided by the Settlement Administrator, your
   claim will not be processed, and you will waive your right to receive money under the Settlement.

4. You may only submit one Claim Form.

5. Submission of the Claim Form does not guarantee payment. Your Claim Form must be approved by the
   Settlement Administrator.

6. If you have any questions, please contact the Settlement Administrator by email at [EMAIL ADDRESS], by
   telephone at 1-XXX-XXX-XXXX, or by U.S. mail at the address listed above.

7. You must notify the Settlement Administrator if your contact or payment information changes after
   you submit your Claim Form. If you do not, even if you submit a valid claim under the Settlement, you
   may not receive your Settlement payment.

8. DEADLINE -- If you submit a claim by U.S. mail, the completed and signed Claim Form must be postmarked
   by DATE. If submitting a Claim Form online, you must do so by 11:59 p.m. PST on DATE.




                                                      1
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                                            UNITED STATES DISTRICT COURT
     Your claim must                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
      be submitted                     In Re Facebook Internet Tracking Litigation,
        online or                             Case No. 5:12-MD-02314-EJD                                     FAC
     postmarked by:                             [Settlement Website URL]
       XXXXXXX
                                                     Claim Form
I. YOUR CONTACT INFORMATION

Provide your name and contact information below. You must notify the Settlement Administrator if your
contact information changes after you submit this form. NOTE: The personal information you provide below
will be processed for purposes of effectuating the Settlement.


                   First Name                                                   Last Name



             Street Address



                   City                                    State                                  Zip Code


 (       )     -

               Current Phone Number                    Email Address (associated with your Facebook account)

If you received a Notice about the Settlement by email, you have been identified as a Settlement Class Member. In the
below field, please provide the Notice ID located above your name/address on the Notice you received. If you do not have
a Notice ID, you may still be eligible to submit a claim.

 Please enter your
 Notice ID #


II. DETAILS



                                                                                                     Yes
     Did you reside in the United States between April 22, 2010 and September 26, 2011,
     inclusive?                                                                                      No




                                                           2
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                                                                                             Yes
 Do you currently have a Facebook account?
                                                                                             No



 Enter all usernames or URLs for Facebook             1. __________________________________
 accounts used by you between April 22, 2010
                                                      2. __________________________________
 and September 26, 2011:
                                                      3. __________________________________
                                                      4. __________________________________
                                                      5. __________________________________


III. PAYMENT SELECTION (choose one)

Please select one of the following payment options:

    PayPal - Enter your PayPal email address: __________________________________________________

    Venmo - Enter the mobile number associated with your Venmo account: __ __ __-__ __ __-__ __ __ __

    Virtual Prepaid Card – Enter the email address where you will receive the Virtual Prepaid Card:

    __________________________________________________

    Zelle - Enter the email address or mobile number associated with your Zelle account:

    __________________________________________________

    Physical Check - Payment will be mailed to the address provided in Section I of this Claim Form.


IV. VERIFICATION AND ATTESTATION UNDER OATH

By signing below and submitting this Claim Form, I hereby swear under penalty of perjury that I am the person
identified above and the information provided in this Claim Form is true and correct, and that I have not
submitted another Claim Form in connection with this Settlement and know of no other person having done so
on my behalf.

___________________________________                          Date:
Your signature                                                       MM         DD         YYYY

___________________________________
Your name




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                                       REMINDER CHECKLIST

1. Please make sure you answered all the questions on the Claim Form. Be sure to select only one payment
   option.

2. Please make sure that you signed and dated the Claim Form.

3. Please keep a copy of your completed claim form for your own records.




                                                    4
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             Exhibit 1E
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                                        UNITED STATES DISTRICT COURT
   Your Opt-Out                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
   Form must be                     In Re Facebook Internet Tracking Litigation,
  submitted online                         Case No. 5:12-MD-02314-EJD                             FAC_OPT
 or postmarked by:                          [Settlement Website URL]
    XXXXXXX
                                               Opt-Out Form


I. YOUR INFORMATION




            First Name                                                 Last Name



            Street Address



                City                                   State                                Zip Code


II. SIGNATURE

I am a potential Settlement Class Member who is requesting to be excluded from the Settlement in In Re Facebook
Internet Tracking Litigation, Case No. 5:12-MD-02314-EJD (N.D. Cal.). I understand that by submitting this Opt-
Out Form I am requesting exclusion from this Settlement, and I will not receive a Settlement payment.


___________________________________                            Date:
Your signature                                                         MM       DD        YYYY



   This form must be completed and mailed to the Settlement Administrator at the address below and be
                                    postmarked by [DEADLINE].

                                    Facebook Internet Tracking Litigation
                                         ATTN: Exclusion Request
                                              P.O. Box 58220
                                          Philadelphia, PA 19102




                                                      1
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             Exhibit 1F
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 8                             UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN JOSE DIVISION
11

12     IN RE FACEBOOK INTERNET                      Case No. 5:12-MD-2314-EJD
       TRACKING LITIGATION
13                                                 [PROPOSED] ORDER CERTIFYING
                                                   SETTLEMENT CLASS; GRANTING
14                                                 PRELIMINARY APPROVAL OF
                                                   CLASS ACTION SETTLEMENT
15                                                 PURSUANT TO FEDERAL RULE OF
                                                   CIVIL PROCEDURE 23(e)(1); AND
16                                                 APPROVING FORM AND CONTENT
                                                   OF CLASS NOTICE
17

18
       THIS DOCUMENT RELATES TO
19     ALL ACTIONS

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     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 111 of 126



 1             WHEREAS, Plaintiffs Perrin Davis, Dr. Brian Lentz, Michael Vickery, and Cynthia Quinn

 2    (the “MDL Plaintiffs”), Plaintiffs in the related State Court Action Ung, et al. v. Facebook, Inc.,

 3    No. 2012-1-CV-217244 (Cal. Super. Ct.) (“State Court Plaintiffs”) and Defendant Meta Platforms,

 4    Inc., formerly Facebook, Inc. (“Meta” or “Defendant”) (collectively “Parties”), entered into a

 5    Settlement Agreement 1 (ECF No. ___) on February 14, 2022, which, together with the exhibits and

 6    appendices thereto, sets forth the terms and conditions for a proposed resolution of this litigation

 7    and for its dismissal with prejudice;

 8             WHEREAS, this Court has reviewed the Settlement entered into by the Parties, all exhibits

 9    thereto, the record in this case, and the Parties’ arguments;

10             WHEREAS, this Court preliminarily finds, for the purpose of settlement only, that the

11    Settlement Class meets all the prerequisites of Federal Rule of Civil Procedure 23 for class

12    certification, including numerosity, commonality, typicality, predominance of common issues,

13    superiority, and that the Plaintiffs and Lead Counsel are adequate representatives of the Settlement

14    Class;

15              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED AS FOLLOWS:

16             1.     All terms and definitions used herein have the same meanings as set forth in the

17    Settlement Agreement.

18                  Preliminary Certification of Settlement Class for Purpose of Settlement Only

19             2.     The Settlement is hereby preliminarily approved as fair, reasonable, and adequate

20    such that notice thereof should be given to members of the Settlement Class. Under Federal Rule

21    of Civil Procedure 23(b)(3), the Settlement Class, as set forth in paragraphs 1.39 and 2.1 of the

22    Settlement Agreement and defined as follows, is preliminarily certified for the purpose of

23    settlement only:

24                    All persons who, between April 22, 2010 and September 26, 2011,

25                    inclusive, were Facebook Users in the United States that visited non-

26                    Facebook websites that displayed the Facebook Like button.

27
      1 All capitalized terms not defined herein have the same meaning as in the Settlement Agreement, which
28    is provided as Exhibit 1 to the Named Plaintiffs’ Motion for Preliminary Approval.
     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
                                                        2
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 112 of 126



 1    The Settlement Class excludes Meta and any and all of its current and former predecessors,

 2    successors, assigns, parents, subsidiaries, affiliates, directors, officers, employees, agents,

 3    representatives, and attorneys, and any and all of the parents’, subsidiaries’, and affiliates’ current

 4    and former predecessors, successors, assigns, directors, officers, employees, agents,

 5    representatives, and attorneys. The Settlement Class also excludes counsel for any Party in any of

 6    the Actions and any judicial officer presiding over the Actions, or any member of his or her

 7    immediate family or of his or her judicial staff. The Settlement Class also excludes members who

 8    timely exercised their right to exclude themselves pursuant to the procedures described in the

 9    Notice and/or in Section 8 of the Settlement Agreement. The Settlement Class also excludes the

10    Settlement Administrator and any and all of its predecessors, successors, assigns, parents,

11    subsidiaries, affiliates, directors, officers, employees, agents, representatives, and attorneys, and

12    any and all of the parents’, subsidiaries’, and affiliates’ present and former predecessors,

13    successors, assigns, directors, officers, employees, agents, representatives, and attorneys. The Class

14    also excludes Class Counsel, counsel for any plaintiff in any consolidated or related action listed in

15    Exhibit A to the Settlement Agreement, and any and all of their predecessors, successors, assigns,

16    parents, subsidiaries, affiliates, directors, officers, employees, agents, representatives, and

17    attorneys.

18           3.      If the Settlement Agreement is not finally approved by this Court, or if such final

19    approval is reversed or materially modified on appeal by any court, this Order (including but not

20    limited to the certification of the class) shall be vacated, null and void, and of no force or effect,

21    and Defendant and Plaintiffs shall be entitled to make any arguments for or against certification for

22    litigation purposes.

23           4.      Lead Counsel and the Plaintiffs are appointed as adequate representatives of the

24    Settlement Class. David A. Straite of DiCello Levitt Gutzler LLC and Steven G. Grygiel of Grygiel

25    Law LLC are hereby appointed as Lead Class Counsel. Jay Barnes of Simmons Hanly Conroy LLC

26    is hereby appointed as Chair of the Plaintiffs’ Counsel Executive Committee. Lead Counsel and

27    Mr. Barnes together are referred to herein as Class Counsel and shall represent the Settlement Class.

28           5.      The Court also re-appoints the other members of the Plaintiffs’ Counsel Executive
     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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 1    Committee: William H. “Billy” Murphy, Jr. of Murphy Falcon Murphy; Barry Eichen of Eichen

 2    Crutchlow Zaslow LLP; Paul Kiesel of Kiesel Law LLP; Stephen Gorny of the Gorny Law Firm,

 3    LC; James Frickleton of Bartimus Frickleton Robertson Rader; William M. Cunningham, Jr. of

 4    Burns, Cunningham & Mackey, P.C.; and Andrew J. Lyskowski of Bergmanis Law Firm LLC.

 5           6.      The Court also re-appoints former Hawai‘i Attorney General Margery Bronster to

 6    the AG/Settlement Advisory Committee, and appoints her as Chair of the Committee.

 7                                     Notice to the Settlement Class

 8           7.      The Court approves the Notice Plan, Notice of Proposed Class Action Settlement,

 9    Claim Form, and Opt-Out Form, which are attached to the Settlement Agreement as Exhibits B-E,

10    and finds that their dissemination substantially in the manner and form set forth in the Settlement

11    Agreement meets the requirements of Federal Rule of Civil Procedure 23 and due process,

12    constitutes the best notice practicable under the circumstances, and is reasonably calculated, under

13    the circumstances, to apprise members of the Settlement Class of the pendency of the Actions, the

14    effect of the proposed Settlement (including the releases contained therein), the anticipated Motion

15    for a Fee and Expense Award and for Service Awards, and their rights to participate in, opt out of,

16    or object to any aspect of the proposed Settlement.

17           8.      By ______ __, 2022 [thirty (30) days after the issuance of this Order], Defendant

18    shall, for the purpose of facilitating Notice, provide the Settlement Administrator with names and

19    email addresses for members of the Settlement Class.

20           9.      By ______ __, 2022 [fourteen (14) days after the issuance of this Order], Defendant

21    shall pay or cause to be paid into the Escrow Account a portion of the Settlement Fund that will

22    cover the Administrative Costs associated with Notice.

23           10.     The Settlement Administrator shall provide Notice consistent with the Notice Plan

24    outlined in Exhibit B, and Notice shall be disseminated to Settlement Class Members by the Notice

25    Date on _____, ___ 2022 [not later than seventy-five (75) days after receipt of information from

26    Defendant].

27                                       Settlement Administration

28           11.     The Court appoints Angeion Group to serve as the Settlement Administrator.
     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 114 of 126



 1    Angeion Group shall supervise and administer the notice procedures, establish and operate the

 2    Settlement Website, administer the claims processes, distribute cash payments according to the

 3    processes and criteria set forth in the Settlement Agreement, and perform any other duties that are

 4    reasonably necessary and/or provided for in the Settlement Agreement.

 5           12.     The Settlement Administrator shall act in compliance with the Amended Stipulated

 6    Protective Order, ECF No. 227, including but not limited to making all necessary efforts and

 7    precautions to ensure the security and privacy of Settlement Class Member information and protect

 8    it from loss, misuse, unauthorized access and disclosure, and to protect against any reasonably

 9    anticipated threats or hazards to the security of Settlement Class Member information; not using

10    the information provided by Defendant or Settlement Class Counsel in connection with the

11    Settlement or this Notice Plan for any purposes other than providing notice or conducting claims

12    administration; and not sharing Settlement Class Member information with any third parties

13    without advance consent from the Parties.

14           13.     Settlement Class Members who wish to make a Claim must do so by submitting a

15    Claim Form by _______, __ 2022 [seventy (70) days after the Notice Date outlined in paragraph

16    6, above], in accordance with the instructions contained therein. The Settlement Administrator shall

17    determine the eligibility of Claims submitted and allocate the Settlement Funds in accordance with

18    the Settlement Agreement.

19           14.     Settlement Class Members who wish to object to the Settlement must object in

20    writing and: (a) clearly identify the case name and number; (b) include the Objector’s full name,

21    address, telephone number, email address; Facebook account URL (if reasonably available); the

22    email address and telephone number associated with the Settlement Class Member’s Facebook

23    account; and his or her signature; (c) include the full name, address, telephone number, and email

24    address of the Objector’s counsel (if the Objector is represented by counsel); and (d) state whether

25    the Objection applies only to the Objector, to a specific subset of the Settlement Class, and also

26    state with specificity the grounds for the objection, including any legal and factual support and any

27    evidence in support of the Objection. Objections must be filed with the Court or post-marked by

28    _______, __ 2022 [no later than sixty (60) days from the Notice Date outlined in paragraph 6,
     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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 1    above], to the Court at the following address: Class Action Clerk, United States District Court for

 2    the Northern District of California, 280 South 1st Street, San Jose, California 95113.

 3           15.     Any Settlement Class Member who seeks to be excluded from the Settlement Class

 4    must submit a request for exclusion, either using the Opt-Out Form or providing other written

 5    request, which must be sent electronically or postmarked by _______, __ 2022 [no later than sixty

 6    (60) days from the Notice Date outlined in paragraph 6, above]. If the Settlement Class Member

 7    chooses to request exclusion from the Settlement without an Opt-Out Form, such request must be

 8    timely sent by U.S. mail to the Settlement Administrator, requesting exclusion, providing their

 9    name, address, a signature, the name and number of the Action, and a clear and explicit statement

10    that they wish to be excluded from the Settlement. The date of the postmark on the envelope

11    containing the written request to opt-out shall be the exclusive means used to determine whether a

12    request to opt-out has been timely submitted. In the event a postmark is illegible, the date of mailing

13    shall be deemed to be three (3) days prior to the date that the Settlement Administrator received a

14    copy of the request to opt-out of the Settlement. The Settlement Class Member must pay for

15    postage. Any member of the Settlement Class who does not file a valid and timely request for

16    exclusion shall be bound by the final judgment dismissing the Action on the merits with prejudice.

17                                          Final Fairness Hearing

18           16.     The Final Fairness Hearing shall be held by the Court on _______, __ 2022,

19    beginning at _______ .m., to determine whether the requirements for certification of the Settlement

20    Class have been met; whether the proposed settlement of the Actions on the terms set forth in the

21    Settlement should be approved as fair, reasonable, adequate, and in the best interests of the

22    Settlement Class Members; whether Settlement Class Counsel’s motion or application for Fees and

23    Expense Award and application for the Service Awards should be approved; and whether final

24    judgment approving the Settlement and dismissing the Actions on the merits with prejudice against

25    the Named Plaintiffs and all other Settlement Class Members should be entered. The Final Fairness

26    Hearing may, without further notice to the Settlement Class Members (except those who have filed

27    timely and valid objections and requested to speak at the Final Fairness Hearing), be continued or

28    adjourned by order of the Court.
     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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 1           17.     Any Objector who timely submits an Objection has the option to appear and request

 2    to be heard at the Final Fairness Hearing, either in person or through the Objector’s counsel. Any

 3    Objector wishing to appear and be heard at the Final Fairness Hearing must include a Notice of

 4    Intention to Appear in the body of the Objector’s Objection. Objectors who fail to submit or include

 5    such timely Notice of Intention to Appear may not speak at the Final Fairness Hearing without

 6    permission of the Court.

 7           18.     By _______, __ 2022 [not later than sixty-five (65) days before the Final Fairness

 8    Hearing], Class Counsel shall file all papers in support of the application for the Final Approval

 9    Order and Final Judgment, and any Motion for a Fee and Expense Award and/or for Service

10    Awards, and shall serve copies of such papers upon Defense Counsel and upon any objectors who

11    have validly complied with paragraphs 11 and 14 of this Order. All opposition papers shall be filed

12    by _______, __ 2022 [the last day to file a Claim Form, Objection, or Opt-Out Form], and any

13    reply papers shall be filed by _______, __ 2022 [twenty-one (21) days after the last day to file a

14    Claim Form, Objection, or Opt-Out of the Settlement].

15           19.     Lead Counsel’s motion or application for a Fee and Expense Award and for Service

16    Awards will be considered separately from the fairness, reasonableness, and adequacy of the

17    Settlement. Any appeal from any order relating solely to Settlement Class Counsel’s Motion for a

18    Fee and Expense Award, and/or for Service Awards, or any reversal or modification of any such

19    order, shall not operate to terminate, vacate, or cancel the Settlement.

20           20.     Defense Counsel and Class Counsel are hereby authorized to utilize all reasonable

21    procedures in connection with the administration of the Settlement which are not materially

22    inconsistent with either this Order or the Settlement Agreement.

23           IT IS SO ORDERED.

24
             Dated: _____________                   _______________________________________
25                                                  Hon. Edward J. Davila
                                                    United State District Judge
26

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     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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             Exhibit 1G
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 8                             UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN JOSE DIVISION
11

12                                             Case No. 5:12-MD-2314-EJD

13                                            [PROPOSED] ORDER GRANTING FINAL
                                              APPROVAL OF CLASS ACTION
14    IN RE FACEBOOK INTERNET                 SETTLEMENT PURSUANT TO FEDERAL
      TRACKING LITIGATION                     RULE OF CIVIL PROCEDURE 23(e)(2);
15                                            AWARDING ATTORNEYS’ FEES,
                                              EXPENSES, and NAMED PLAINTIFF
16                                            SERVICE AWARDS; AND ENTERING
                                              FINAL JUDGMENT
17
                                              Judge: Hon. Edward J. Davila
18                                            Courtroom 4, 5th Floor
                                              Hearing Date: March 31, 2022
19
                                              Time: 9:00 a.m.
20

21   THIS DOCUMENT RELATES TO
     ALL ACTIONS
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        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 119 of 126



 1            WHEREAS, the Court held a Final Fairness Hearing on ______ __, 2022, to consider

 2    approval of this class action Settlement. The Court has considered the Settlement Agreement (ECF

 3    No. ___), the record in the MDL action, and the Parties’ arguments and authorities.

 4             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED AS FOLLOWS:

 5            1.     All terms and definitions used herein have the same meanings as set forth in the

 6    Settlement Agreement unless stated otherwise herein or in the Court’s Order Granting Preliminary

 7    Approval of the Settlement.

 8            2.     The Court has jurisdiction over the subject matter of the MDL Action; Plaintiffs

 9    Perrin Davis, Dr. Brian Lentz, Michael Vickery, and Cynthia Quinn (the “MDL Plaintiffs”), the

10    Settlement Class Members, and Defendant Meta Platforms, Inc., formerly Facebook, Inc. (“Meta”

11    or “Defendant”) (collectively “Parties”).

12            3.     The Court finds that the Notice Plan constituted the best notice practicable under the

13    circumstances to all Settlement Class Members and fully complied with the requirements of Federal

14    Rule of Civil Procedure 23 and due process.

15            4.     The Court finds that, for purposes of the Settlement only, all prerequisites for

16    maintenance of a class action set forth in Federal Rules of Civil Procedure 23(a) and (b)(3) are

17    satisfied.

18            5.     The Court certifies the following Settlement Class for purposes of Settlement only:

19                           All persons who, between April 22, 2010 and September 26,

20                           2011, inclusive, were Facebook Users in the United States

21                           that visited non-Facebook websites that displayed the

22                           Facebook Like button.

23    The Settlement Class excludes Meta and any and all of its current and former predecessors,

24    successors, assigns, parents, subsidiaries, affiliates, directors, officers, employees, agents,

25    representatives, and attorneys, and any and all of the parents’, subsidiaries’, and affiliates’ current

26    and former predecessors, successors, assigns, directors, officers, employees, agents,

27    representatives, and attorneys. The Settlement Class also excludes counsel for any Party in any of

28    the Actions and any judicial officer presiding over the Actions, or any member of his or her
        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
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     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 120 of 126



 1    immediate family or of his or her judicial staff. The Settlement Class also excludes members who

 2    timely exercised their right to exclude themselves pursuant to the procedures described in the

 3    Notice and/or in Section 8 of the Settlement Agreement. The Settlement Class also excludes the

 4    Settlement Administrator and any and all of its predecessors, successors, assigns, parents,

 5    subsidiaries, affiliates, directors, officers, employees, agents, representatives, and attorneys, and

 6    any and all of the parents’, subsidiaries’, and affiliates’ present and former predecessors,

 7    successors, assigns, directors, officers, employees, agents, representatives, and attorneys. The

 8    Settlement Class also excludes Settlement Class Counsel, counsel for any plaintiff in any

 9    consolidated or related action listed in Exhibit A to the Settlement Agreement, and any and all of

10    their predecessors, successors, assigns, parents, subsidiaries, affiliates, directors, officers,

11    employees, agents, representatives, and attorneys.

12           6.      Pursuant to Federal Rule of Civil Procedure 23(e), the Court hereby grants final

13    approval of the Settlement and finds that the Settlement is fair, reasonable, and adequate and in the

14    best interests of the Settlement Class Members based on the following factors, among other things:

15                       a. There is no fraud or collusion underlying this Settlement, and it was reached

16                           as a result of extensive arm’s-length negotiations, occurring over the course

17                           of several months and several mediation sessions with a respected mediator,

18                           warranting a presumption in favor of approval. See, e.g., Officers for Justice

19                           v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982); In re Bluetooth

20                           Headset Prods. Liab. Litig., 654 F.3d 935, 948 (9th Cir. 2011) (presence of

21                           a neutral mediator is a factor weighing in favor of a finding of non-

22                           collusiveness). Despite the mediator’s presence, the Court has performed its

23                           own, independent analysis of the Settlement’s fairness, reasonableness, and

24                           adequacy pursuant to Federal Rule of Civil Procedure 23(e)(2). See Briseño

25                           v. Henderson, 908 F.3d 1014, 1021 (9th Cir. 2021).

26                       b. The complexity, expense, and likely duration of the litigation favor

27                           settlement—which provides meaningful benefits on a shorter time frame

28                           than otherwise possible—on behalf of the Settlement Class Members. See,
        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
                                                       3
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 1                            e.g., Lane v. Facebook, Inc., 696 F.3d 811, 820 (9th Cir. 2012) (affirming

 2                            the district court’s approval of a settlement where class counsel “reasonably

 3                            concluded that the immediate benefits represented by the Settlement

 4                            outweighed the possibility—perhaps remote—of obtaining a better result at

 5                            trial”); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992)

 6                            (the Ninth Circuit has a “strong judicial policy that favors settlements,

 7                            particularly where complex class action litigation is concerned”). Based on

 8                            the stage of the proceedings and the amount of investigation and discovery

 9                            completed, the Parties have developed a sufficient factual record to evaluate

10                            their chances of success at trial and the proposed Settlement.

11                        c. The support of Settlement Class Counsel and the Named Plaintiffs, who have

12                            participated in this litigation and evaluated the proposed Settlement, also

13                            favor final approval. See Class Plaintiffs, 955 F.2d at 1294; Boyd v. Bechtel

14                            Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979).

15                        d. The Settlement provides meaningful relief to the Settlement Class, including

16                            cash relief, and falls within the range of reasonable possible recoveries by

17                            the Settlement Class Members.

18            7.      As of the Effective Date, the Releasing Parties, on behalf of themselves and their

19    heirs, executors, administrators and assigns, and any person(s) they represent, shall be deemed by

20    this Settlement to, and shall, release, dismiss, and finally and forever discharge the Released

21    Claims, and will not in any manner pursue the Actions or any claims that were asserted or could

22    have been asserted in the Actions; and shall be deemed by this Settlement to, and shall be forever

23    barred from asserting, instituting, prosecuting, or maintaining against the Released Parties, any and

24    all Released Claims. It is the intention of the Parties that any liability of the Released Parties relating

25    to the Released Claims be eliminated. Accordingly, the Settlement shall terminate the MDL Action.

26    Notwithstanding the foregoing, the release shall not include any claims relating to the continued

27    enforcement of the Settlement or the Stipulated Protective Orders, including but not limited to ECF

28    Nos. 75, 169, and 227.
        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
                                                          4
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 122 of 126



 1           8.      The Court finds that an award of attorneys’ fees and expenses is appropriate

 2    pursuant to Federal Rule of Civil Procedure 23(e)(2)(C)(iii) and therefore approves such award in

 3    an amount, manner and timing as set forth in the Court’s separate Order on Lead Counsel’s

 4    Application for a Fee and Expense Award and Service Awards.

 5           9.      Lead Counsel shall distribute the awarded attorneys’ fees and expenses among

 6    Settlement Class Counsel and Non-Class Counsel identified in the Settlement Agreement and shall

 7    determine in their sole discretion based on each attorney’s contributions to the prosecution and

 8    settlement of these Actions. No other counsel will be entitled to an independent award of attorneys’

 9    fees or expenses.

10           10.     The Court finds that the payment of MDL Plaintiffs’ and State Court Plaintiffs’

11    Service Awards is fair and reasonable and therefore approves such payment as set forth in the

12    Court’s separate Order on Lead Counsel’s Application for a Fee and Expense Award and Service

13    Awards.

14           11.     The MDL Action, including all actions consolidated into the MDL Action and all

15    claims asserted in the actions, is settled and dismissed on the merits with prejudice.

16           12.     Consummation of the Settlement shall proceed as described in the Settlement

17    Agreement, and the Court reserves jurisdiction over the subject matter and each Party to the

18    Settlement with respect to the interpretation and implementation of the Settlement for all purposes,

19    including enforcement of any of the terms thereof at the instance of any Party and resolution of any

20    disputes that may arise relating to the implementation of the Settlement or this Order.

21           13.     Without affecting the finality of this Order in any way, the Court shall retain

22    jurisdiction over this Action, the MDL Plaintiffs, the Settlement Class Members, and Defendant to

23    enforce the terms of the Settlement, the Court’s order directing notice (ECF No. ___) and this

24    Order. In the event that any applications for relief are made, such applications shall be made to the

25    Court. To avoid doubt, the Final Judgment applies to and is binding upon the Parties, the Settlement

26    Class Members, and their respective heirs, successors, and assigns.

27           14.     The Settlement and this Order are not admissions of liability or fault by Defendant

28    or the Released Parties, or a finding of the validity of any claims in the Actions or of any
        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
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     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 123 of 126



 1    wrongdoing or violation of law by Defendant or the Released Parties. To the extent permitted by

 2    law, neither this Order, nor any of its terms or provisions, nor any of the negotiations or proceedings

 3    connected with it, shall be offered as evidence or received in evidence in any pending or future

 4    civil, criminal, or administrative action or proceeding to establish any liability of, or admission by,

 5    the Released Parties.

 6           15.     Notwithstanding the foregoing, nothing in this Order shall be interpreted to prohibit

 7    the use of this Order in a proceeding to consummate or enforce the Settlement or this Order, or to

 8    defend against the assertion of released claims in any other proceeding, or as otherwise required by

 9    law.

10

11           IT IS SO ORDERED.

12
             Dated: _____________                    _______________________________________
13                                                   Hon. Edward J. Davila
                                                     United State District Judge
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        CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER GRANTING FINAL APPROVAL OF THE STMLT.,
          AWARDING FEES, EXPENSES, AND SERVICE AWARDS, AND ENTERING FINAL JUDGMENT
                                                        6
Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 124 of 126




             Exhibit 1H
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 125 of 126



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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN JOSE DIVISION
11

12    IN RE FACEBOOK INTERNET                        Case No. 5:12-MD-2314-EJD
      TRACKING LITIGATION
13                                                    [PROPOSED] JUDGMENT

14   THIS DOCUMENT RELATES TO
     ALL ACTIONS
15

16

17           On _________________, the Court signed and entered its Order Granting Final Approval

18    of Class Action Settlement and its Order on Lead Counsel’s Motion for a Fee and Expense Award

19    and Service Awards (ECF Nos. ___) (the “Final Approval Order” and the “Order on a Fee and

20    Expense Award and Service Awards”) in the above-captioned matter as to the following class of

21    persons:

22                   All persons who, between April 22, 2010 and September 26, 2011,

23                   inclusive, were Facebook Users in the United States that visited non-

24                   Facebook websites that displayed the Facebook Like button.

25    JUDGMENT IS HEREBY ENTERED, pursuant to Federal Rule of Civil Procedure 58, as to the

26    specified class of persons (excluding the individuals who validly and timely requested exclusion

27    from the Settlement Class, as identified in the Final Approval Order), Plaintiffs Perrin Davis, Dr.

28    Brian Lentz, Cynthia Quinn, and Matthew Vickery (the “MDL Plaintiffs”), and Defendant on the
                             CASE NO. 5:12-MD-2314-EJD, [PROPOSED] JUDGMENT
     Case 5:12-md-02314-EJD Document 233-1 Filed 02/14/22 Page 126 of 126



 1    terms and conditions of the Settlement Agreement approved by the Court’s Final Approval Order.

 2           1.      For purposes of this Order, the Court adopts the terms and definitions set forth in

 3    the Settlement Agreement unless otherwise defined in the Preliminary Approval Order or Final

 4    Approval Order.

 5           2.      Payments to Settlement Class Members under the Settlement Agreement shall be

 6    made as outlined in the Final Approval Order and Settlement Agreement.

 7           3.      As of the Effective Date, the Releasing Parties, on behalf of themselves and their

 8    heirs, executors, administrators and assigns, and any person(s) they represent, shall be deemed by

 9    this Settlement to, and shall, release, dismiss, and finally and forever discharge the Released

10    Claims, and will not in any manner pursue the Actions or any claims that were asserted or could

11    have been asserted in the Actions; and shall be deemed by this Settlement to, and shall be forever

12    barred from asserting, instituting, prosecuting, or maintaining against the Released Parties, any and

13    all Released Claims. It is the intention of the Parties that any liability of the Released Parties

14    relating to the Released Claims be eliminated.        Accordingly, the Settlement shall terminate the

15    MDL Action. Notwithstanding the foregoing, the release shall not include any claims relating to

16    the continued enforcement of the Settlement or the Stipulated Protective Orders, including but not

17    limited to ECF Nos. 75, 169, and 227.

18           4.      The MDL Action, including all actions consolidated into the MDL Action and all

19    claims asserted in the actions, is settled and dismissed on the merits with prejudice. 1

20    JUDGMENT APPROVED AS TO FORM:

21                                                            Hon Edward J. Davila
                                                              United States District Court
22

23    JUDGMENT ENTERED: ___________ _____, 2022

24    By: CLERK OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
      CALIFORNIA
25

26
      1
27      Pursuant to the terms of the Settlement Agreement, as of the Effective Date, the State Court
      Action’s named plaintiffs agreed to dismiss their State Court Action entirely on the merits with
28    prejudice.
                              CASE NO. 5:12-MD-2314-EJD, [PROPOSED] JUDGMENT
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